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THE SEDONA CONFERENCE TAR CASE LAW PRIMER,
SECOND EDITION

A Project of The Sedona Conference Working Group
on Electronic Document Retention and Production (WG1)


                                         Author:
                              The Sedona Conference
                              Drafting Team Leaders:
             Tara S. Emory                              Maria Salacuse
                                      Drafting Team:
            Gareth Evans                                Alicia Hawley
           Emily Jennings                               Robert Keeling
         Leeanne S. Mancari                            Angelica Ornelas
          John Pappas, Jr.                               Florence Yee
                          Steering Committee Liaisons:
            Rebekah Bailey                          Andrea D’Ambra
             Philip Favro                        Hon. Andrew J. Peck (ret.)
                                       Staff editor:
                                      David Lumia


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                                      PREFACE
    Welcome to the final, May 2023 version of The Sedona Confer-
ence TAR Case Law Primer, Second Edition, a project of The Sedona
Conference Working Group on Electronic Document Retention
and Production (WG1). This is one of a series of Working Group
commentaries published by The Sedona Conference, a 501(c)(3)
research and educational institute dedicated to the advanced
study of law and policy in the areas of antitrust law, complex
litigation, intellectual property rights, and data security and pri-
vacy law. The mission of The Sedona Conference is to move the
law forward in a reasoned and just way.
    The first edition of the TAR Case Law Primer was published
in January 2017 to address case law issues that arose during the
early use of technology-assisted review (TAR) for the explora-
tion and classification of large document collections in civil liti-
gation. Since publication of the first edition, case law has ad-
dressed more complex issues such as TAR methodologies,
metrics, and validation. This second edition reflects the subse-
quent history and development of TAR case law, analyzes the
published judicial decisions in the years following the original
publication, and discusses how the technological shift from
TAR 1.0 systems to TAR 2.0, continuous active learning, has im-
pacted the case law. Like the first edition, the Primer does not
recommend best practices or otherwise comment on the utility
of TAR. It is intended to assist courts and practitioners in stay-
ing abreast of this evolving area of law and technology.
    The Primer was a topic of dialogue at the WG1 2022 Midyear
Meeting in Phoenix, and drafts of the Primer were circulated for
member comment at the Midyear Meeting and again in the fall
of 2022. Future developments in the law and technology may
warrant further updates.
   The Sedona Conference acknowledges the efforts of Drafting
Team leaders Tara Emory and Maria Salacuse, who were
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invaluable in driving this project forward. We also thank draft-
ing team members Gareth Evans, Alicia Hawley, Emily Jen-
nings, Robert Keeling, Leeanne S. Mancari, Angelica Ornelas,
John Pappas, Jr. and Florence Yee, and steering committee liai-
sons Rebekah Bailey, Andrea D’Ambra, Philip Favro, and the
Honorable Andrew J. Peck (ret.) for their dedication and contri-
butions to this project. We also thank Deesha Shah for her assis-
tance in compiling the Table of Cases.
    We encourage your active engagement in the dialogue.
Membership in The Sedona Conference Working Group Series
is open to all. The Series includes WG1 and several other Work-
ing Groups in the areas of international electronic information
management, discovery, and disclosure; patent damages and
patent litigation best practices; data security and privacy liabil-
ity; trade secrets; and other “tipping point” issues in the law.
The Sedona Conference hopes and anticipates that the output of
its Working Groups will evolve into authoritative statements of
law, both as it is and as it should be. Information on member-
ship and a description of current Working Group activities is
available at https://thesedonaconference.org/wgs.

Craig Weinlein
Executive Director
The Sedona Conference
May 2023
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I.      INTRODUCTION

    Courts have generally accepted the use of Technology As-
sisted Review (TAR)1 to search for electronically stored infor-
mation (ESI) responsive to requests for production. They rou-
tinely cite its benefits and encourage its use. With more frequent
implementation of TAR and greater familiarity with TAR work-
flows, courts in recent years are handling increasingly complex
TAR disputes compared with when The Sedona Conference
published the first edition of the TAR Case Law Primer (“First
Edition Primer”) in January 2017. The First Edition Primer ad-
dressed the early TAR cases, providing courts and parties with
authority on the common TAR issues of that time.
   In the years since, case law has further developed to address
more complex issues, such as TAR methodologies, metrics, and
validation. This updated Primer (“Second Edition Primer,” or
“Primer”) updates and replaces the First Edition Primer. This



   1. TAR is “A process for prioritizing or coding a collection of electroni-
cally stored information using a computerized system that harnesses human
judgments of subject-matter experts on a smaller set of documents and then
extrapolates those judgments to the remaining documents in the collection.
Some TAR methods use algorithms that determine how similar (or dissimi-
lar) each of the remaining documents is to those coded as relevant (or non-
relevant) by the subject-matter experts, while other TAR methods derive sys-
tematic rules that emulate the experts’ decision-making processes. TAR
systems generally incorporate statistical models and/or sampling techniques
to guide the process and to measure overall system effectiveness.” The Sedona
Conference Glossary: eDiscovery & Digital Information Management, Fifth Edition,
21 SEDONA CONF. J. 263 (2020) (definition adopted from Maura R. Gross-
man & Gordon V. Cormack, The Grossman-Cormack Glossary of Technology-
Assisted Review with Foreword by John M. Facciola, U.S. Magistrate Judge, 7 FED.
CTS. L. REV. 1, 32 (2013)). The terms “predictive coding” and “computer-as-
sisted review” are sometimes used interchangeably with TAR to describe
this process. This Primer will use the term “TAR,” unless quoting a case that
uses another term.
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Primer is intended to assist courts and practitioners in staying
abreast of this evolving area of law and technology. It contains
all cases that substantively address TAR found by the drafting
team as of December 31, 2022. It spotlights key trends and issues
relating to TAR through December 31, 2022, identifies support-
ing case law, and summarizes the current state of the law and
the open questions that remain.
    The Primer generally addresses case law deciding disputes
relating to TAR and does not address cases in which parties
used TAR without challenge. Beyond the scope of the Primer,
parties may find additional guidance on TAR uses and method-
ologies within stipulated TAR protocols. 2
    While it is hoped that this Primer will provide a thorough
overview of TAR to those who read it beginning to end, it is also
expected that many readers will instead focus only on topics re-
lated to specific needs. The Primer is therefore organized based
on those topics, with some cases discussed in multiple sections.
    Section II addresses the history of judicial acceptance of
TAR, discussing key cases for TAR acceptance and trends and
providing context for modern TAR jurisprudence. Beginning
with Da Silva Moore v. Publicis Groupe 3 in 2012, courts began to
recognize the potential value of TAR to increase efficiencies in
the discovery process. As parties’ use of TAR also increased and
evolved, courts more recently have addressed issues relating to
different TAR workflows.


   2. In compiling the TAR case law summaries included in this Primer, the
drafting team focused on identifying and analyzing judicial decisions related
to TAR. The Primer purposefully does not summarize the terms of various
TAR protocols, whether they are stipulated by the parties or “so ordered” by
a court. In the drafting team’s view, TAR protocols by themselves do not
provide substantive guidance from judges on legal issues or disputes related
to TAR.
    3. Da Silva Moore v. Publicis Groupe, 287 F.R.D. 182, 183 (S.D.N.Y. 2012).
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    Section III discusses how courts have accepted the use of
TAR when parties have agreed to its use, and how they have
held parties to their prior agreements about the use of TAR.
Courts, however, mostly decline to require a responding party
to use TAR when it objects to doing so. In accordance with Se-
dona Principle 6, 4 courts generally defer to the responding
party’s reasonable choice of methods for collecting, reviewing,
and producing its own ESI, including the use of TAR. However,
courts have also acknowledged that a party’s unilateral deci-
sions about its use of TAR are subject to limitations if it is un-
reasonable or results in a production deficiency.
    Section IV examines the level of transparency and disclosure
that courts expect in connection with TAR. This section starts by
discussing cases that generally address whether the use of TAR
should be disclosed. It then moves on to cases about other types
of disclosure—whether (and how) information about seed,
training, or validation sets should be shared; whether TAR met-
rics and methodologies should be divulged, including during
Rule 30(b)(6) depositions; and situations in which null sets and
nonresponsive documents should be sampled.
   Section V includes cases that address issues related to TAR
workflows, including search-term culling, recall thresholds, ESI
orders, and TAR protocols.
   Section VI discusses how courts have considered the exist-
ence of court-ordered ESI protocols when assessing a respond-
ing party’s production decisions.
   The final four sections of this Primer examine the application
of proportionality in connection with TAR (Section VII);



   4. The Sedona Conference, The Sedona Principles, Third Edition: Best Prac-
tices, Recommendations & Principles for Addressing Electronic Document Produc-
tion, Principle 6, 19 SEDONA CONF. J. 1, 118 (2018) [hereinafter The Sedona Prin-
ciples, Third Edition].
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instances where courts have considered cost shifting (Section
VIII); TAR cases from foreign jurisdictions (Section IX); and con-
siderations for using TAR in governmental investigations (Sec-
tion X).
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II.     HISTORY OF JUDICIAL ACCEPTANCE OF TAR

        A.      From Da Silva Moore in 2012 to Rio Tinto in
                2015
    In 2012, Da Silva Moore v. Publicis Groupe became the first
published opinion recognizing TAR as an “acceptable way to
search for relevant ESI in appropriate cases.” 5 The decision
paved the way for practitioners to use TAR with confidence as
a defensible discovery tool, and for additional courts to rein-
force that principle. As the use of TAR became more common,
courts have consistently opined that the acceptability of its use
is well established. Moving beyond the issue of whether a party
may use TAR, courts have confronted issues on how parties are
using TAR. Meanwhile, how parties use TAR have also evolved
in ways that impact the issues addressed by courts confronted
with TAR, with a notable example of TAR 1.0 and TAR 2.0
workflows.
   The court in Da Silva Moore approved a party-negotiated
TAR protocol, which had set forth the manner of selection and
review of the seed and training document sets, 6 and addressed
those aspects of the protocol about which the parties disagreed. 7
The court stated that “[w]hat the Bar should take away from this
Opinion is that [TAR] is an available tool and should be seri-
ously considered for use in large-data-volume cases where it



  5. Da Silva Moore, 287 F.R.D. at 183.
   6. Da Silva Moore involved TAR 1.0. which refers to the use of Simple Ac-
tive Learning (“SAL”) and Simple Passive Learning (“SPL”) protocols, both
of which are single-time training protocols. See below for further discussion.
The seed set is “[a] manually compiled set of documents used to train an
analytic index for the purposes of performing some form of technologically-
assisted review.” The Sedona Conference Glossary: eDiscovery & Digital Infor-
mation Management, Fifth Edition, 21 SEDONA CONF. J. 263 (2020).
  7. See Da Silva Moore, 287 F.R.D. at 182–83, 190–93.
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may save the producing party (or both parties) significant
amounts of legal fees in document review.”8 The court stated,
however, “[t]hat does not mean computer-assisted review must
be used in all cases, or that the exact ESI protocol approved here
will be appropriate in all future cases that utilize computer-as-
sisted review.”9
    The court suggested that “the best approach” when a party
wishes to use TAR is to “follow the Sedona Cooperation Procla-
mation model” and “[a]dvise opposing counsel that you plan to
use [TAR] and seek agreement.”10 Noting the responding
party’s willingness to provide the requesting party with “[a]ll
documents that are reviewed as a function of the seed set . . .
and . . . to the extent applicable, the issue tag(s) coded for each
document,” the court “highly recommend[ed] that counsel in
future cases be willing to at least discuss, if not agree, to such
transparency in the computer-assisted review process.”11 If,
however, parties cannot agree, the court stated that they should
“consider whether to [either] abandon [TAR] for that case or go
to the court for advance approval,” noting that court approval
would be unlikely absent “results [that] are quality control ver-
ified.”12 As for court approval, the court stated that it “recog-
nizes that [TAR] is not a magic, Staples-Easy-Button, solution
appropriate for all cases.”13 While the technology should be
used where appropriate, courts should consider the particular
protocol that is proposed. “[I]t is not a case of machine replacing



     8. Id. at 193.
     9. Id.
 10. Id. at 184 (quoting Andrew Peck, Search, Forward, L. TECH. NEWS, Oct.
11, 2011, at 25, 29).
 11. Id. at 192.
 12. Id. at 184, 192.
 13. Id. at 189.
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humans: it is the process used and the interaction of man and
machine that the courts need to examine.” 14 The court empha-
sized: “While this Court recognizes that [TAR] is not perfect, the
Federal Rules of Civil Procedure do not require perfection.”15
    The court concluded that defendant’s use of TAR was appro-
priate, considering the following factors: (1) the parties’ agree-
ment to use TAR (even though they disagreed on certain aspects
of its implementation); (2) “the vast amount of ESI to be re-
viewed (over three million documents);” (3) “the superiority of
[TAR] to the available alternatives (i.e., linear manual review or
keyword searches);” (4) “the need for cost effectiveness and pro-
portionality under Federal Rule of Civil Procedure 26(b)(2)(C);”
and (5) “the transparent process proposed by [defendant].”16
    Following Da Silva Moore’s recognition that TAR was an ac-
ceptable search methodology, courts began encouraging the use
of TAR or commenting on its potential to reduce cost and bur-
den.17 Some courts in these early cases encouraged (and even
ordered) the parties to consider TAR. 18 And some cases, without


 14. Id.
 15. Id. at 191.
 16. Id. at 192.
 17. See, e.g., Nat’l Day Laborer Org. Network v. U.S. Immigr. & Customs
Enforcement Agency, 877 F. Supp. 2d 87, 111 (S.D.N.Y. 2012) (suggesting
TAR could address keyword search shortcomings); In re Domestic Drywall
Antitrust Litig., 300 F.R.D. 228, 233 (E.D. Pa. 2014) (noting use of technology
could lead to greater efficiency and more beneficial results); Malone v. Kant-
ner Ingredients, Inc., No. 4:12CV3190, 2015 WL 1470334, at *3 n.7 (D. Neb.
Mar. 31, 2015).
  18. See, e.g., FDIC v. Bowden, No. CV413-245, 2014 WL 2548137, at *13
(S.D. Ga. June 6, 2014) (ordering parties to consider the use of TAR); Aurora
Coop. Elevator Co. v. Aventine Renewable Energy-Aurora W. LLC, No.
4:12CV230, 2015 WL 10550240, at *1 (D. Neb. Jan. 6, 2015) (ordering the par-
ties to “consult with a computer forensic expert to create search protocols,
including predictive coding as needed, for a computerized review of the
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engaging in substantive discussions, noted the parties’ use of
TAR in reviewing productions of opposing parties or non-par-
ties. 19 In these earliest cases, before the acceptance of TAR was
well established, cooperation and agreement by parties on both
sides initially weighed heavily into courts’ approval of TAR. 20
    Courts soon began referring to the use of TAR as a well-ac-
cepted methodology. The court in Dynamo Holdings Ltd. Partner-
ship v. Commissioner of Internal Revenue (Dynamo Holdings I), for
example, rejected the requesting party’s assertion that TAR is an
“unproved technology,” noting that “the understanding of e-
discovery and electronic media has advanced significantly in
the last few years, thus making predictive coding more accepta-
ble in the technology industry than it may have previously
been.”21 The court added that “[i]n fact, we understand that the

parties’ electronic records”); Johnson v. Ford Motor Co., No. 3:13-cv-06529,
2015 WL 4137707, at *11 (S.D. W. Va. July 8, 2015) (ordering the parties to
“involve their IT experts and to consider other methods of searching such as
predictive coding”).
 19. N.M. State Invest. Council v. Bland, No. D-101-CV-2011-01534, 2014
WL 772860 (D.N.M. Feb. 12, 2014); Arnett v. Bank of Am., N.A., No. 3:11-cv-
1372-SI, 2014 WL 4672458 (D. Or. Sept. 18, 2014).
  20. See Da Silva Moore, 287 F.R.D. at 193 (negotiated protocol); Kleen Prods.
LLC v. Packaging Corp. of Am., No. 10 C 5711, 2012 WL 4498465 (N.D. Ill.
Sept. 28, 2012) (ordering parties to cooperate where a requesting party
sought to require responding party to use TAR); Fed. Hous. Fin. Agency v.
JPMorgan Chase & Co., No. 1:11-cv-06188-DLC (S.D.N.Y. July 24, 2012)
(Transcript at 9, 14) (appearing to encourage disclosure of the training sets
by stating that for the TAR process to work, “it needs transparency and co-
operation of counsel”); Rio Tinto PLC v. Vale S.A., 306 F.R.D. 125, 129
(S.D.N.Y. 2015) (noting the level of transparency required for certain work-
flows was not established but did not need to be decided because the parties
had agreed to a protocol addressing the issue).
 21. Dynamo Holdings Ltd. P’ship v. Comm’r of Internal Revenue (Dy-
namo Holdings I), 143 T.C. 183, 191–92 (2014) (citing Da Silva Moore, 287
F.R.D at 182 n.2, adopted sub nom., Da Silva Moore v. Publicis Groupe SA, No.
11 Civ. 1279 (ALC)(AJP), 2012 WL 1446534 (S.D.N.Y. Apr. 26, 2012)); see also
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technology industry now considers predictive coding to be
widely accepted for limiting e-discovery to relevant documents
and effecting discovery of ESI without an undue burden.”22
Many courts have also commented on TAR as a means to reduce
cost and burden. 23
   In Rio Tinto PLC v. Vale S.A., decided in 2015, the court ob-
served that “[i]n the three years since Da Silva Moore, the case
law has developed to the point that it is now black letter law
that where the producing party wants to utilize TAR for docu-
ment review, courts will permit it.”24 The court pointed to a long




Progressive Cas. Ins. Co. v. Delaney, No. 2:11-cv-00678-LRH-PAL, 2014 WL
3563467, at *8 (D. Nev. July 18, 2014) (providing citations of articles indicat-
ing that TAR has proved to be an accurate way to comply with a discovery
request for ESI and that studies show it is more accurate that human review
or keyword searches); FDIC v. Bowden, 2014 WL 2548137, at *13 (S.D. Ga. June
6, 2014) (directing that the parties consider the use of TAR).
 22. Dynamo Holdings I, 143 T.C. at 192.
  23. See, e.g., Harris v. Subcontracting Concepts, LLC, No. 1:12-MC-82
(DNH/RFT), 2013 WL 951336, at *5 (N.D.N.Y. Mar. 11, 2013) (noting TAR,
along with other recent technologies, can dramatically reduce the time and
cost of production); see also Chevron Corp. v. Donziger, No. 11 Civ.
0691(LAK), 2013 WL 1087236, at *32 n.255 (S.D.N.Y. Mar. 15, 2013); Zhu-
linska v. Niyazov Law Grp., P.C., No. 21-CV-1348 (CBA), 2021 WL 5281115,
at *3 (E.D.N.Y. Nov. 12, 2021); Republic of the Gambia v. Facebook, Inc., No.
20-mc-36-JEB-ZMF, 567 F. Supp. 3d 291 (D.D.C. 2021), vacated in part sub
nom. Republic of the Gambia v. Facebook, Inc., 575 F. Supp. 3d 8 (D.D.C.
2021), reconsideration denied sub nom. Republic of the Gambia v. Meta Plat-
forms, Inc., No. 20-36 (JEB), 588 F. Supp. 3d 1 (D.D.C. 2022).
 24. Rio Tinto, 306 F.R.D. at 127, 129 (S.D.N.Y. 2015) (“One point must be
stressed—it is inappropriate to hold TAR to a higher standard than key-
words or manual review. Doing so discourages parties from using TAR for
fear of spending more in motion practice than the savings from using TAR
for review”).
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list of cases in which courts had approved the responding
party’s use of TAR during the period of 2012-15. 25

        B.      Emergence of TAR 2.0
    As TAR has become more widely used, TAR technologies,
uses, and workflows have also evolved. A particularly notable
development has been workflows using TAR 2.0, also referred
to as “Continuous Active learning” (“CAL”), 26 and other terms,
which have affected issues that may arise between parties and
resulting case law. The terms “TAR 1.0” and “TAR 2.0,” which
have their genesis as marketing terms, refer to contrasting TAR
workflow methodologies. The earlier of the TAR workflows to
emerge, often known as TAR 1.0, refers to the use of discrete
training sets within the entire review population. 27 Then, coun-
sel may or may not engage in further responsiveness review of
the categorized documents. By contrast, TAR 2.0 refers to a



 25. See id. at 127–28 (citing Dynamo Holdings I, 143 T.C. 9); Green v. Am.
Modern Home Ins. Co., No. 1:14–cv–04074, 2014 WL 6668422, at *1 (W.D.
Ark. Nov. 24, 2014); Aurora Coop. Elevator Co. v. Aventine Renewable En-
ergy– Aurora W. LLC, No. 12 Civ. 0230, ECF No. 147 (D. Neb. Mar. 10, 2014);
Edwards v. Nat’l Milk Producers Fed’n, No. 11 Civ. 4766, ECF No. 154 (N.D.
Cal. Apr. 16, 2013) (Joint Stip. & Order); Bridgestone Ams., Inc. v. Int’l Bus.
Machs. Corp., No. 3:13–1196, 2014 WL 4923014 (M.D. Tenn. July 22, 2014);
Fed Hous. Fin. Agency v. HSBC N.A. Holdings, Inc., Nos. 11 Civ. 6189(DLC),
2014 WL 584300, at *3 (S.D.N.Y. Feb. 14, 2014); EORHB, Inc. v. HOA Holdings
LLC, No. 7409-VCL, 2013 WL 1960621 (Del. Ch. May 6, 2013); In re Actos
(Pioglitazone) Prods. Liab. Ltg., 274 F. Supp. 3d 485 (W.D. La. 2017).
  26. The terms “continuous active learning “and “CAL” are trademarks of
Maura Grossman and Gordon Cormack. See Gordon V. Cormack & Maura
R. Grossman, Evaluation of Machine Learning Protocols for Technology-Assisted
Review in Electronic Discovery, in SIGIR ‘14: Proceedings of the 37th interna-
tional ACM SIGIR conference on Research & development in information
retrieval, at 153–62 (July 3, 2014), available at http://dx.doi.org/10.1145/
2600428.2609601 (“SIGIR study”).
 27. Id.
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workflow where, generally, every document the TAR model
identifies as most likely to be responsive is prioritized for re-
view by human reviewers, and their coding further trains the
algorithm. 28
    The TAR 2.0 workflow was first discussed in Rio Tinto.
There, the court discussed the evolution of TAR technologies
and workflows and how those changes impacted parties’ dis-
cussions about TAR, including, for example, some requesting
parties’ concerns about the composition of seed and training
sets. 29 The Rio Tinto court noted studies showing that with TAR
tools employing this distinct “continuous active learning”
workflow, the seed set may have little or no impact, and that as
a practical matter, there may be no discrete training sets to
share. 30




 28. While this generally describes a TAR 2.0 review for responsiveness,
variations to this workflow exist.
  29. While “training” documents refer to any documents used as inputs to
create a TAR model, “seed” documents is a term used less consistently.
While it commonly refers to the set of training documents selected for the
first run of a TAR algorithm to build a model, it is sometimes used to refer
to a broader set of training documents. See, e.g., Winfield v. City of New York,
No. 15-CV-05236 (LTS)(KHP), 2017 WL 5664852, at *4 (S.D.N.Y. Nov. 27,
2017) (“For TAR to work properly, the producing party must prepare a train-
ing, or seed set, of responsive and non-responsive documents to train the
computer system how to distinguish between them.”).
 30. Rio Tinto PLC v. Vale S.A., 306 F.R.D. 125, 128 (S.D.N.Y. 2015) (citing
SIGIR study).
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III.    COURT INVOLVEMENT IN TAR

    Court involvement relating to TAR most commonly occurs
when courts enter TAR protocols that the parties have negoti-
ated and stipulated. 31 Court involvement also has occurred
when a responding party seeks court approval of its unilateral
decision to use TAR or the methodology it intends to use. It has
also occurred when a requesting party seeks to compel a re-
sponding party to use TAR or implement a specific TAR proto-
col. Although rare, courts have sua sponte ordered the use of
TAR.

        A.       Permission Not Needed for Responding Party
                 to Use TAR
   Generally, as discussed further in Section III.C below, a re-
sponding party may not only determine how and whether to
use TAR, it may do so without seeking court permission. 32 In
Entrata, Inc. v. Yardi Systems, Inc., the court denied the plaintiff’s
motion to compel disclosure of the complete methodology and
results of the defendant’s TAR process in a situation where the
parties failed to reach agreement on search methodology early
on and where the plaintiff knew about the use of TAR but did




 31. At times, courts are also involved in crafting provisions of TAR proto-
cols.
 32. While early cases such as Da Silva Moore v. Publicis Groupe, 287 F.R.D.
182, 184 (S.D.N.Y. 2012) stressed the importance of party agreement or court
approval, this requirement no longer applied after “the case law has devel-
oped to the point that it is now black letter law that where the producing
party wants to utilize TAR for document review, courts will permit it.” Rio
Tinto, 306 F.R.D. at 127. As discussed in Section VI, the exception to this gen-
eral practice is where parties deviate from the negotiated ESI protocol in im-
plementing TAR.
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not take issue with it until the last day of discovery. 33 The court
noted that it was “‘black letter law’ that courts will permit a pro-
ducing party to utilize TAR” and that the plaintiff “was not re-
quired to seek approval from the Magistrate Court to use TAR
where there was never an agreement to utilize a different search
methodology.” 34 Citing Entrata, In re Broiler Chicken Grower An-
titrust Litigation (No. II), similarly held, “Courts in this district
have found that when there has not been an agreement to the
contrary, a party is not required to seek approval to use TAR.”35
   The court in Dynamo Holdings I likewise opined that re-
sponding parties need not seek court permission to use TAR,
and that the requesting party can object after production if the
production is not complete. It explained that responding parties
are generally free to decide their own process for discovery
without needing prior judicial approval. 36
   In William Morris Endeavor Entertainment, LLC v. Writers
Guild of America West, Inc., the court similarly found that court
approval of the use of TAR was not necessary. 37 The court,



 33. Entrata, Inc. v. Yardi Sys., Inc., No. 2:15-cv-00102, 2018 WL 5470454,
at*7 (D. Utah Oct. 29, 2018).
 34. Id., quoting Rio Tinto at 127. Further discussion of Entrata is in Section
IV.A.
 35. In re Broiler Chicken Grower Antitrust Litig. (No. II) (In re Boiler
Chicken II), No. 6:20-2977-RJS-CMR, 2022 WL 2812679, at *2 (E.D. Okla. Feb.
7, 2022).
 36. Dynamo Holdings I, 143 T.C. 183, 188–89 (2014) (“[T]he Court is not
normally in the business of dictating to parties the process that they should
use when responding to discovery. If our focus were on paper discovery, we
would not (for example) be dictating to a party the manner in which it should
review documents for responsiveness or privilege, such as whether that re-
view should be done by a paralegal, a junior attorney, or a senior attorney.”).
 37. William Morris Endeavor Ent., LLC v. Writers Guild of Am. W., Inc,
No. 219CV05465ABAFMX, 2020 WL 6162797, at *2 (C.D. Cal. June 8, 2020)
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however, did note that the defendants should be prepared to
defend [their search] plan if later challenged by [plaintiffs].”38
    Finally, in Bliss v. CoreCivic, Inc., the court commented in
dicta when ruling on a proposed scheduling order that it “need
not be involved” in the defendant’s “ordinary” decision to use
TAR, unless there existed some “basis to believe that the mech-
anism used is either purposefully or inherently failing to iden-
tify proportional, relevant, and responsive ESI.” 39

        B.      Whether Court May Compel TAR
    While courts generally find that TAR is an acceptable meth-
odology for responding parties to use, courts generally decline
to require responding parties to use TAR to fulfill their discovery
obligations.

                1.       Courts Declining to Order TAR
    Kleen Products LLC v. Packaging Corporation of America was
one of the first cases in which a court considered the issue of
imposing the use of TAR on a responding party.40 In Kleen, the
plaintiffs sought to require defendants to use TAR rather than
(according to the plaintiffs) the “antiquated Boolean [] search of
[defendants’] self-selected custodians’ ESI and certain central
files.” 41 The defendants objected because they had already used


 38. Id.
 39. Bliss v. CoreCivic, Inc., No. 2:18-cv-01280-JAD-EJY, 2021 WL 930692,
at *1 (D. Nev. Feb. 9, 2021). But see In re Diisocyanates Antitrust Litig., No.
18-1001, MDL No. 2862, 2021 WL 4295729 (W.D. Pa. Aug. 23, 2021) adopted by
In re Diisocyanates, 2021 WL 4295719 (W.D. Pa. Sept. 21, 2021) (finding process
to be unreasonable and sent parties back to the drawing board).
 40. Kleen Prods. LLC v. Packaging Corp. of Am., No. 10-cv-5711, 2012 WL
4498465 (N.D. Ill. Sept. 28, 2012).
  41. Kleen Prods., Plaintiffs’ Statement of Position with Respect to Disputed
Items for Dec. 15, 2011 Status Conference at 4–5, ECF No. 266 (N.D. Ill. Dec.
13, 2011).
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keyword searches and viewed TAR as a “new, untested docu-
ment gathering and production protocol.” 42 After holding evi-
dentiary hearings on the efficacy of TAR, 43 the court ultimately
declined to require the defendants to adopt one methodology
over another. Instead, the court ordered the parties to meet and
confer regarding modifications to the responding party’s exist-
ing search methodology. 44
    In Hyles v. New York City, the court held that defendant New
York City could not be compelled to use TAR against its will
even though the court agreed that, “in general, TAR is cheaper,
more efficient and superior to keyword searching.”45 Unlike
prior cases, where the responding party had already expended
significant effort and expense on document review and produc-
tion, 46 in Hyles the responding party had not yet commenced its
review. This raised the issue of whether, on the requesting
party’s motion to compel the use of TAR at the outset of discov-
ery, the court would order the responding party to use TAR. It



 42. See Kleen Prods., Defendants’ Statement of Position with Respect to Dis-
puted Items for Dec. 15, 2011 Status Conference at 3, ECF No. 267 (N.D. Ill.
Dec. 13, 2011).
 43. See Kleen Prods., (N.D. Ill. Mar. 1, 2012) (Feb. 21, 2012 Transcript); Kleen
Prods., (N.D. Ill. Aug. 2, 2012) (Mar. 28, 2012 Transcript).
 44. Kleen Prods., (Aug. 2, 2012) (Mar. 28, 2012 Transcript). Ultimately, the
parties stipulated that plaintiffs could object to defendants’ search method-
ology and propose alternatives but would withdraw their request for TAR.
Stipulation & Order Relating to ESI Search, Kleen Prods., (Aug. 21, 2012); see
also Kleen Prods., 2012 WL 4498465 (N.D. Ill. Sept. 28, 2012).
 45. Hyles v. New York City, No. 10 Civ . 3119 (AT)(AJP), 2016 WL
4077114, at *2 (S.D.N.Y. Aug. 1, 2016).
 46. The court stated that in prior cases “where the requesting party has
sought to force the producing party to use TAR, the courts have refused.” Id.
The court noted, however, that in those cases, the responding party had al-
ready “spent over $1 million using keyword search (in Kleen [Products]) or
keyword culling followed by TAR (in Biomet).” Id. (emphasis added).
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declined to do so. The court held that “it is not up to the Court,
or the requesting party (Hyles), to force the City as the respond-
ing party to use TAR when it prefers to use keyword search-
ing.”47 The court explained that while the requesting party “may
well be correct that production using keywords may not be as
complete as it would be if TAR were used,” nevertheless “the
standard is not perfection, or using the ‘best’ tool,” but rather
“whether the search results are reasonable or proportional.”48
The court concluded that there “may come a time when TAR is
so widely used that it might be unreasonable for a party to de-
cline to use TAR,” but “[w]e are not there yet.” 49
    Similarly, in In re Viagra (Sildenafil Citrate) Products Liability
Litigation, the court denied the plaintiffs’ request that defendant
use TAR and that the plaintiffs’ representatives be involved in
the defendant’s TAR process. 50 The defendant instead planned
to use an iterative search-term process, which it would test and
validate through sampling. Relying on Hyles, the court in Viagra
held that it was not up to the court or the requesting party to
force a responding party to use TAR when it preferred to use
search terms. The court reasoned that it would not compel the
use of TAR, even if it were a superior method, absent evidence
of insufficient discovery responses. 51 The court therefore denied
the motion without prejudice.




 47. Id. at *3.
 48. Id.
 49. Id.
 50. In re Viagra (Sildenafil Citrate) Prods. Liab. Litig., No. 16-md-02691-RS
(SK), 2016 WL 7336411 (N.D. Cal. Oct. 14, 2016).
 51. Id. at *2.
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    In re Mercedes-Benz Emissions Litigation echoed that reasoning
when it declined to compel the use of TAR. 52 In that case, the
plaintiffs moved to compel the defendants to use TAR to iden-
tify responsive documents, arguing that TAR “yields signifi-
cantly better results than either traditional human ‘eyes on’ re-
view of the full data set or the use of search terms.” 53 The
defendants objected, preferring instead to use custodians and
search terms to identify relevant documents and arguing that
there was no authority for a court to require TAR. 54 In addition,
the defendants claimed that using TAR would not be appropri-
ate in light of certain ESI issues present in the case, including
language and translation, unique acronyms and identifiers, re-
dacted documents, and technical documents that would make
TAR challenging and ineffective. 55
   The special master noted that while the benefits of TAR are
widely recognized, no court had compelled a party to use TAR
over objection. 56 Despite his view that TAR would be the “more
cost effective and efficient methodology,” the special master al-
lowed the defendant to use its preferred custodian-and-search-
term approach. 57


  52. In re Mercedes-Benz Emissions Litig., No. 2:16-cv-881 (KM) (ESK),
2020 WL 103975 (D.N.J. Jan. 9, 2020). For further discussion about this case,
see Section III.C. See also Raymond James & Assocs., Inc. v. 50 N. Front St.
TN, LLC, No. 18-cv-2104-JTF-tmp, 2022 WL 3337275, at *4 (W.D. Tenn. Feb.
8, 2022) (citing In re Mercedes-Benz and refusing to find that costs incurred
from manual review were unreasonable where plaintiff did not use TAR).
 53. In re Mercedes-Benz, 2020 WL 103975, at *1.
 54. Id.
 55. Id.
 56. Id.
 57. Id. at *2; see also In re Bridgepoint Educ., Inc. Sec. Litig., No. 12cv1737
JM (JLB), 2014 WL 3867495 (S.D. Cal. Aug. 6, 2014) (denying plaintiffs’ re-
quest to require defendants to use TAR on documents that defendants had
previously searched using traditional search terms); Klein v. Facebook, Inc.,
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                  2.      Courts Ordering TAR
    Three decisions have ordered the use of TAR, in the context
of ongoing discovery problems caused, at least in part, by the
responding party’s conduct. In Independent Living Center v. City
of Los Angeles, the court ordered the use of TAR to search more
than two million documents after “little or no discovery was
completed” before the discovery cutoff, and the parties had on-
going disputes after “months of haggling” over search terms
that yielded large numbers of documents for review. 58
   In OSI Restaurant Partners v. United Ohana, the Delaware
Court of Chancery granted the defendant’s motion to compel in
part, ordering the plaintiff to identify responsive documents by
applying TAR to all produced documents that had not previ-
ously undergone a document-by-document attorney-level re-
view for responsiveness. 59 The court further directed that the
parties work together, with their eDiscovery vendors, to de-
velop a TAR process; that the plaintiff implement the TAR pro-
cess; and that the plaintiff make a new production to the defend-
ants. 60 In addition, the court stated that the plaintiff would be
responsible for all expenses associated with the TAR process. 61
   Similarly, in Winfield v. City of New York, after “numerous
complaints about the pace of discovery and document review,
which initially involved only manual linear review of docu-
ments,” the court ordered the responding party to begin using


No. 20-cv-08570-LHK (VKD), 2021 U.S. Dist. LEXIS 175738, at *8 (N.D. Cal.
Sep. 15, 2021) (noting that the court may not require a party to adopt a par-
ticular TAR protocol).
 58. Indep. Living Center v. City of Los Angeles, No. 2:12-cv-00551, Minute
Order at 1, ECF 375 (C.D. Cal. June 26, 2014).
 59. OSI Rest. Partners, LLC v. United Ohana, LLC, No. 12353-CB, 2017 WL
396357 (Del. Ch. Jan. 27, 2017).
 60. Id. at *2.
 61. Id.
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TAR “to hasten the identification, review, and production of
documents responsive to Plaintiffs’ document requests.” 62

               3.     Courts Suggesting TAR
    Courts sometimes suggest to the parties that the use of TAR
may be appropriate to address discovery issues. For instance, in
EORHB, Inc. v. HOA Holdings LLC, the Delaware Court of Chan-
cery sua sponte ordered the parties to use TAR or, alternatively,
to show cause why TAR should not be used. 63 The defendant
ultimately elected to use TAR. The plaintiff, however, was not
required to do so after informing the court that because of the
low volume of documents it expected to have to review and pro-
duce, the cost of using TAR likely would outweigh any practical
benefits. 64
   Similarly, in granting the plaintiff’s motion to compel in a
short one-page order, the court in Davine v. Golub Corporation
expressly stated that the defendants could continue to rely on
their TAR model in conducting its review of the compelled doc-
uments from newly identified custodians. 65 It likewise ordered
that the defendants could “cease their review of the documents
identified as possibly relevant when they made a good faith de-
termination that the burden of continuing the review outweighs
the benefit in terms of identifying relevant documents.” 66




 62. Winfield v. City of New York, 15-CV-05236 (LTS) (KHP), 2017 WL
5664852, at *4 (S.D.N.Y. Nov. 27, 2017).
 63. EORHB, Inc. v. HOA Holdings LLC, No. 7409-VCL (Del. Ch. Oct. 15,
2012) (Hearing Transcript at 66–67).
 64. See EORHB, Inc. v. HOA Holdings LLC, No. 7409-VCL, 2013 WL 1960621
(Del. Ch. May 6, 2013).
 65. Davine v. Golub Corp., No. 3:14-cv-30136-MGM, 2017 WL 549151, at
*1 (D. Mass. Feb. 8, 2017).
 66. Id.
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    The court likewise suggested the use of TAR to address over-
broad discovery in Story v. Fiat Chrysler Automotive, a race dis-
crimination and retaliation case brought by an employee against
his employer. 67 There, the plaintiff moved to compel discovery,
claiming that the defendant’s responses to his interrogatories
and requests for production of documents were incomplete.68
The defendant objected to the document request that called for
all documents and emails pertaining to or about the plaintiff for
an 18-month time period, arguing that the request was too ex-
pansive and not proportional to the needs of the case. 69 The
court agreed but encouraged counsel to consider “key word
searches or technology assisted review . . . to narrow the vol-
ume of an otherwise overly-broad request.”70
    The court in Youngevity International Corporation v. Smith en-
couraged the use of TAR from an early stage of discovery, sug-
gesting that TAR might be an appropriate option in the case and
instructing defense counsel to determine the cost of TAR to sort
responsive from nonresponsive documents. 71




 67. Story v. Fiat Chrysler Auto., No. 4:17-CV-12, 2018 WL 5307230 (N.D.
Ind. Oct. 26, 2018).
 68. Id. at *1.
 69. Id. at *2.
 70. Id. at *3.
 71. Youngevity Int’l Corp. v. Smith, No. 16-cv-00704-BTM (JLB), 2019 WL
1542300, at *8, 15 (S.D. Cal. Apr. 9, 2019) (instructing counsel to find out the
cost of TAR and then ordering the parties confer about it), report adopted sub
nom. Youngevity Intl. v. Smith, No. 16-cv-704-BTM-JLB, 2019 WL 11274846
(S.D. Cal. May 28, 2019).
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        C.      Challenges to Responding Party’s TAR
                Methodology

                1.       Discretion to Responding Party and
                         Sedona Principle 6
   In addition to having discretion over whether to use TAR,
responding parties typically may select the methodology they
use for their TAR process without judicial involvement, pro-
vided that it is reasonable. When addressing TAR issues, courts
have frequently relied on and cited Principle 6 of The Sedona
Principles, which states:
        Responding parties are best situated to evaluate
        the procedures, methodologies, and technologies
        appropriate for preserving and producing their
        own electronically stored information. 72
   These cases reflect that, as with other discovery issues,
courts will apply Sedona Principle 6 to defer to a responding
party’s chosen methodologies when they are reasonable. Courts
applying Principle 6 have declined to intervene in a responding
party’s decisions on whether and how to use TAR, unless a re-
questing party can show a specific deficiency in a responding
party’s production or unreasonableness of the selected process.
    For example, Sedona Principle 6 was key to the holding in
Livingston v. City of Chicago, where the court allowed the defend-
ant to use TAR and declined to order the defendant to consult
the plaintiff when establishing a review protocol. 73 The parties
disagreed about whether it was appropriate to apply keyword




 72. The Sedona Principles, Third Edition, supra note 3, Principle 6.
  73. Livingston v. City of Chicago, No. 16 CV 10156, 2020 WL 5253848
(N.D. Ill. Sept. 3, 2020). Further discussion of this case can be found in Sec-
tions IV.B, V.A, and VI.A.
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culling to the dataset prior to applying TAR.74 The court found
that the City’s TAR proposal was reasonable under the federal
rules and, citing Sedona Principle 6, held that the City is “best
situated to decide how to search for and produce [responsive]
emails . . . .”75 The court also declined to direct the responding
party’s TAR process, where its proposed methodology “satisfies
the reasonable inquiry standard and is proportional to the needs
of this case under the federal rules.”76
    In Coventry Capital US LLC v. EEA Life Settlements Inc., the
parties generally agreed to use TAR but disagreed about the
specific protocols to be used, leading to a “protracted and con-
tentious” TAR review process. 77 Noting the responding party’s
representations that its manual review of the disputed ESI sub-
set could be completed within three weeks and that the addition
of that data would “skew the recall and precision metrics and
cause delay,” the court allowed the responding party to exclude
that population from TAR review. 78 Declining to “force” TAR
on the responding party at such a “late stage of Phase I of dis-
covery,” the court rejected the requesting party’s argument that
manual review of the ESI in dispute would cause further delay.
    Similarly in Lawson v. Spirit AeroSystems, Inc., the court re-
jected the plaintiff’s complaints about the specific recall the



 74. Id.
 75. Id. at *3.
 76. Id.
 77. Coventry Cap. US LLC v. EEA Life Settlements Inc., No. 17-Civ. 7417
(VM) (SLC), 2020 WL 7383940, at *4 (S.D.N.Y. Dec. 16, 2020), objections over-
ruled, 2021 WL 961750 (S.D.N.Y. Mar. 15, 2021).
 78. Id. at *6 (noting that, although courts generally permit a responding
party to use TAR, “where the requesting party has sought to force the pro-
ducing party to use TAR, the courts have refused”) (internal quotations omit-
ted) (citing Rio Tinto PLC v. Vale S.A., 306 F.R.D. 125, 127 n.1 (S.D.N.Y.
2015)). Recall and precision are defined and discussed in Section V.C.
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defendant used in its TAR process, explaining that the defend-
ant’s TAR review process was reasonable, and that the plain-
tiff’s motion to compel the additional review of residual docu-
ments was disproportionate to the needs of the case. 79
    Relying on Principle 6, the court in Kaye v. New York City
Health and Hospitals Corp. held there was no basis to compel an
inquiry into the search methodology of a responding party that
used TAR where the requesting party had not identified any de-
ficiency in the production. 80 The court ruled that a requesting
party is not entitled, in the first instance, to conduct discovery
about the responding party’s production methodology, and that
any such inquiry must be based on identification of some defi-
ciency and must be proportional to the facts and circumstances
of the case. 81
   As discussed in the next section, Principle 6 does not provide
responding parties with unlimited discretion to make unreason-
able discovery choices. 82 Further, stipulated ESI protocols



 79. Lawson v. Spirit AeroSystems, Inc., No. 18-1100-EFM-ADM, 2020 WL
1813395, at *8–9 (D. Kan. Apr. 9, 2020). As in prior cases, the court recognized
that TAR is widely accepted under the law. Id. at *6 (citing, among other au-
thorities, Da Silva Moore v. Publicis Groupe, 287 F.R.D. 182, 183 (S.D.N.Y.
2012) and The Sedona Conference Glossary E-Discovery and Digital Information
Management, Fourth Edition, 15 SEDONA CONF. J. 305 (2014)). Further discus-
sion of Lawson can be found in Sections V.C. and VIII.B.
  80. Kaye v. N.Y.C. Health and Hospitals Corp., No. 18-CV-12137 (JPO)
(JLC), 2020 WL 283702 (S.D.N.Y. Jan. 21, 2020).
 81. Id. at *3–4.
 82. In re Diisocyanates Antitrust Litig., No. 18-1001, 2021 WL 4295729, at
*8–12 (W.D. Pa. Aug. 23, 2021) (special master finding that while Principle 6
does allow the responding party to decide in the first instance how it will
produce its documents, it did not entitle the responding party to proceed
with a proposed TAR methodology that contained “serious flaws” and was
“not reasonable”), adopted by In re Diisocyanates, 2021 WL 4295719, at *2
(W.D. Pa. Sept. 21, 2021).
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between the parties, when ordered by the court, can take prior-
ity over general principles of deference to the responding
party’s decision on appropriate use of TAR. 83

                2.      No Discretion to Responding Party for
                        Unreasonable Process
    While courts generally do not direct how a responding party
uses TAR, “[t]his general rule does not, however, give carte
blanche to a producing party” and courts may require parties to
redesign unreasonable processes. 84 The parties in In re Diisocya-
nates Antitrust Litigation generally agreed to the use of TAR, but
they disagreed over the specific TAR protocols to be used. 85 The
court adopted the special master’s report and recommendation,
which rejected the defendant’s motion to permit it to follow a
TAR protocol that was determined to be unreasonable because
its validation process was flawed. 86 The court stated that the
special master provided “a roadmap highlighting the potholes
in Defendants’ prior positions and how to proceed to achieve
reasonable and proportionate search terms and TAR methodol-
ogies.”87 The defendants were free to conduct their review con-
sistent with the special master’s guidance and were “not com-
pelled to adopt Plaintiffs’ search terms or TAR
methodologies.” 88 Later, after Defendants asserted they had



 83. In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., 337 F.R.D.
610, 617 (D.N.J. 2020) (holding the defendant had violated the court-ordered
ESI protocol by “not timely disclosing its use or possible use” of TAR, and
therefore requiring defendant to follow plaintiff’s proposed TAR methodol-
ogy instead of defendant’s own).
 84. In re Diisocyanates, 2021 WL 4295729, at *6.
 85. Id. at *9–10.
 86. In re Diisocyanates, 2021 WL 4295719, at *1 (W.D. Pa. Sept. 21, 2021).
 87. Id.
 88. Id.
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completed their TAR review, the special master required some
defendants to conduct additional review, based on a qualitative
and quantitative evaluation that showed their decision to stop
was not reasonable. 89
    Additionally, some courts have cautioned that parties also
bear any risks if their process is less efficient than TAR or results
in deficiencies. For example, in In re Mercedes-Benz, the special
master denied the plaintiffs’ motion to compel the defendants
to use TAR, holding that “Defendants may evaluate and decide
for themselves the appropriate technology for producing their
ESI.”90 The special master cautioned, however, that he would
“not look favorably on any future arguments related to burden
of discovery requests, specifically cost and proportionality,
when Defendants have chosen to utilize the custodian-and-
search term approach despite wide acceptance that TAR is
cheaper, more efficient and superior to keyword searching.”91
In addition, the court noted that once the production was made,
the plaintiffs could renew their request to compel the use of
TAR if the defendants’ production was, in fact, deficient. 92
   Similarly, the court required certain disclosures of the re-
sponding party relating to the appropriateness of the search




 89. In re Diisocyanates, 2022 WL 17668470, *24–29 (W.D. Pa. Oct. 19, 2022),
modified by In re Diisocyanates, ECF No. 800 (W.D. Pa. Oct. 21, 2022).
  90. In re Mercedes-Benz Emissions Litig., No. 2:16-cv-881 (KM) (ESK),
2020 WL 103975, at *2 (D.N.J. Jan. 9, 2020); see also id. at *1 (citing Hyles v.
New York City, No. 10-CIV-3119, 2016 WL 4077114, at *3 (S.D.N.Y. Aug. 1,
2016) (citing The Sedona Principles, Second Edition: Best Practices & Principles
for Addressing Electronic Document Production, Principle 6)). Further discus-
sion of this case can be found in Sections III.B.
 91. In re Mercedes-Benz, 2020 WL 103975, at *2.
 92. Id. at *2–3.
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process in Winfield v. City of New York. 93 There, the plaintiffs ob-
jected to various aspects of the defendant’s document review
process, which included the use of TAR for certain custodians. 94
The court disagreed with the plaintiffs’ contention that the de-
fendants’ TAR process was defective.95 Rather, the court con-
cluded, based on its own in camera review of the City’s submis-
sion, that the City “appropriately trained and utilized its TAR
system.” 96 The court found that five of 20 documents submitted
by the City were incorrectly coded during the initial review but
determined that human error in coding a small subset of docu-
ments was not enough to draw into question the accuracy of the
City’s TAR system, particularly since the training set comprised
over 7,000 documents. 97 Moreover, the City provided infor-
mation about the training of reviewers and the search criteria
used and submitted to in camera review, which was enough to
overcome the plaintiffs’ challenge to its TAR system. 98 Like
many other courts, Winfield explained that reasonableness, ra-
ther than perfection, is the standard in discovery. 99




 93. Winfield v. City of New York, No. 15-CV-05236 (LTS) (KHP), 2017 WL
5664852 (S.D.N.Y. Nov. 27, 2017).
 94. Id. at *2.
  95. While it rejected plaintiffs’ claim that the city’s TAR system was defec-
tive overall, the court granted the plaintiffs’ motion in part, ordering the city
to provide the plaintiffs with a random sample of nonresponsive documents
from the review populations to increase transparency. Id. at *11.
 96. Id. at *10.
 97. Id. at *11. See also Section II.B.
 98. Id.
 99. Id. at *9.
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IV.     TRANSPARENCY AND DISCLOSURE

    For responding parties using TAR, courts generally encour-
age, but do not necessarily require, cooperation, transparency,
or disclosure of the fact that TAR is being used, metrics and pro-
cesses involved in the TAR review, or sharing of which docu-
ments were used in training or validation. Cases that have re-
quired disclosures generally involve a demonstrated
production deficiency; misconduct that requires disclosures to
further assess the responding party’s process; or disregard of an
ESI protocol that does not permit TAR.

        A.      Courts Encourage Cooperation and
                Transparency for TAR
    Courts have generally encouraged parties to disclose their
intended use of TAR. While early cases tended to emphasize
that parties’ cooperation in TAR cases weighed in favor of the
court accepting use of TAR, 100 later cases have continued to en-
courage cooperation and transparency while also holding that a
responding party generally does not have any duty in this re-
gard. The emergence of TAR 2.0 complicated disclosure because
seed and training sets became less meaningful than in TAR
1.0.101



100. See, e.g., Progressive Cas. Ins. Co. v. Delaney, No. 2:11-cv-00678-LRH-
PAS, 2014 WL 3563467, at *10 (D. Nev. Jul. 18, 2014) (“[T]echnology assisted
review of ESI [does] require[] an unprecedented degree of transparency and
cooperation among counsel in the review and production of ESI responsive
to discovery requests.”).
101. See Section II.B. With the evolution of TAR technology from only TAR
1.0 to also include TAR 2.0, “the contents of the seed set [have become] much
less significant.” Rio Tinto PLC v. Vale S.A., 306 F.R.D. 125, 128; see also
Maura R. Grossman & Gordon V. Cormack, Comments on “The Implications of
Rule 26(g) on the Use of Technology-Assisted Review,” 7 FED. CTS. L. REV. 285,
298 (2014).
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     The court in Da Silva Moore stated that “the best approach”
if a party wants to use TAR “is to follow the Sedona Cooperation
Proclamation model,” “[a]dvise opposing counsel that you plan
to use [TAR] and seek agreement . . . .”102 The defendant volun-
tarily agreed to provide the plaintiffs’ counsel with all nonpriv-
ileged relevant and nonrelevant seed-set documents. The court
recommended “that counsel in future cases be willing to at least
discuss, if not agree to, such transparency in the [TAR] pro-
cess.” 103 This “transparency allows . . . opposing counsel (and
the Court) to be more comfortable with [TAR], reducing fears
about the so-called ‘black box’ of the technology.”104 Da Silva
Moore, 105 Bridgestone Americas, Inc. v. International Business Ma-
chines Corp., 106 and Federal Housing Finance Agency v. JP Morgan
Chase & Co. 107 all involved responding parties voluntarily agree-
ing to disclose either a sample (or more) from the training or
validation sets. Further, in both Da Silva Moore and Dynamo



102. Da Silva Moore v. Publicis Groupe, 287 F.R.D. 182, 184 (S.D.N.Y. 2012)
(quoting Andrew Peck, Search, Forward, L. TECH. NEWS, Oct. 2011, at 25). But
see Rio Tinto, 306 F.R.D. 125 (noting that where parties do not agree to trans-
parency, courts were split); Entrata, Inc. v. Yardi Sys., Inc., No. 2:15-cv-00102,
2018 WL 5470454 (D. Utah Oct. 29, 2018) (rejecting the notion that the Federal
Rules of Civil Procedure and case law require transparent disclosures as a
requirement to use TAR).
103. Da Silva Moore, 287 F.R.D. at 192.
104. Id.
105. Id.
106. Bridgestone Ams., Inc. v. Int’l Bus. Machs. Corp., No. 3:13-1196, 2014
WL 4923014 (M.D. Tenn. July 22, 2014).
107. Fed. Hous. Fin. Agency v. JPMorgan Chase & Co., Inc., No. 1:11-cv-
06188-DLC (S.D.N.Y. Aug. 6, 2012) (July 24, 2012 Transcript at 14–15, 24); see
also id. at 8–9 (commenting that the reliability of TAR depends on the process
employed, particularly with respect to training the model using seed sets);
Fed. Hous. Fin. Agency v. HSBC N. Am. Holdings Inc., 2014 WL 584300, at
*3 (same case).
2023]              TAR CASE LAW PRIMER, SECOND EDITION                        35

Holdings II, the responding party agreed to allow the opposing
party to have some role in coding the documents used to train
the TAR algorithm. 108
    While in Rio Tinto the court expressed its preference gener-
ally for cooperation in the disclosure of seed and training sets,
it also recognized that where the parties do not agree on trans-
parency, there are other ways to evaluate whether the training
in the TAR process was done appropriately. 109 This may include,
among other things, “statistical estimation of recall at the con-
clusion of the review as well as [determining] whether there are
gaps in the production, and quality control review of samples
from the documents categorized as non-responsive,” i.e., null-
set samples. 110
    Similarly, in Bridgestone, the court advised that because it
was allowing a change to the discovery approach midstream to
include the use of TAR after search-term culling, it “expects full
openness in this matter.”111 In Federal Housing Finance Agency,
the court appeared to encourage disclosure of the training sets
by (1) stating that for the TAR process to work, “it needs trans-
parency and cooperation of counsel;” and (2) confirming that
the responding party would be voluntarily providing access to
the nonprivileged documents in the seed set. 112 In In re Biomet




108. Dynamo Holdings Ltd. P’ship v. Comm’r. of Internal Revenue (Dy-
namo Holdings II), No. 2685-11, 8393-12, 2016 WL 4204067, at *3 (T.C. July
13, 2016); Da Silva Moore, 287 F.R.D. at 192 (the collaborative seed set training
process included disclosure and agreement on issue-tagging).
109. Rio Tinto PLC v. Vale S.A., 306 F.R.D. 125 (S.D.N.Y. 2015).
110. Id. at 129. Recall is discussed in Section V.C.
111. Bridgestone, 2014 WL 4923014, at *1.
112. Fed. Hous. Fin. Agency (July 24, 2012 Transcript at 9, 14). See also Section
II.B.
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M2a Magnum Hip Products Liability Litigation113 and in Aurora Co-
operative Elevator Co. v. Aventine Renewable Energy-Aurora West,
LLC, 114 while the courts expressly held that they could not re-
quire seed-set disclosure pursuant to the Federal Rules of Civil
Procedure, they nevertheless encouraged the responding par-
ties to “reconsider their position” 115 in the “cooperative spirit”
encouraged by The Sedona Conference Cooperation Proclama-
tion. 116 In addition, working cooperatively would “allay the risk
of having to repeat the process” if it is later challenged and the
court agrees that the “training was faulty or unreliable.”117
    Responding parties who disclose and attempt to negotiate
protocols with requesting parties can be rewarded for their co-
operation when a dispute arises. Livingston mainly concerned
whether a party could compel another to use a certain TAR pro-
tocol, rather than disclose TAR methodology. On this point, the
defendant’s transparency as to its TAR methodology contrib-
uted in part to the court’s decision to allow the defendant to
proceed with its own TAR protocol over the plaintiffs’ objec-
tions. 118 The defendant disclosed its intention to use a TAR pro-
tocol to narrow the review population, the identity of the TAR


113. In re Biomet M2a Magnum Hip Implant Prods. Liab. Litig. (MDL 2391),
No. 3:12-MD-2391, 2013 WL 6405156, at *1 (N.D. Ind. Aug. 21, 2013).
114. Aurora Coop. Elevator Co. v. Aventine Renewable Energy-Aurora W.,
LLC, No. 4:12CV230, 2015 WL 10550240, at *1 (D. Neb. Jan. 6, 2015).
115. Id. at *2.
116. In re Biomet, 2013 WL 6405156, at *2.
117. Aurora Coop. Elevator, 2015 WL 10550240, at *2. See also William Morris
Endeavor Ent., LLC v. Writers Guild of Am. W., Inc, No.
219CV05465ABAFMX, 2020 WL 6162797, at *2 (C.D. Cal. June 8, 2020) (“Ob-
taining prior agreement [of the use of TAR] may be beneficial because of the
certainty it provides. . .”).
118. Livingston v. City of Chicago, No. 16 CV 10156, 2020 WL 5253848, at
*3 (N.D. Ill. Sept. 3, 2020). See also case discussion in Section III.C and Sec-
tions. V.A and VI.A.
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software it intended to use, and how it intended to validate the
results. 119 The court found those disclosures sufficient “to make
the production transparent.” 120

        B.         No General Requirement to Disclose TAR Use
                   or Process
    While courts generally encourage transparency on TAR met-
rics and methodologies, they do not necessarily require disclo-
sure of the TAR process 121 or nonresponsive document sets as-
sociated with training or validation. In addition, courts may
consider information about a party’s TAR process to be pro-
tected attorney work product. In Winfield, for example, the court
required the defendant to submit a letter for in camera review
describing its TAR process and training for document review-
ers. 122 The court ultimately reasoned that such information was
protected attorney work product and therefore not subject to
disclosure. 123
    In Entrata, the court denied the requesting party’s request for
disclosures of the responding party’s TAR process and metrics.
Entrata I involved a defendant’s motion to compel production
of the complete methodology and results of the plaintiff’s TAR
process, claiming that it “need[ed] [plaintiff’s] TAR information
in order to assess the adequacy of [plaintiff’s] document pro-
duction, as well as [plaintiff’s] document collection and review


119. Id.
120. Id.
121. But see Klein v. Facebook, Inc., No. 20-cv-08570-LHK (VKD), 2021 U.S.
Dist. LEXIS 175738, at *8 (N.D. Cal. Sep. 15, 2021) (requiring party to disclose
intent to use TAR and how it will be used or not used in conjunction with
search terms).
122. Winfield v. City of New York, No. 15-CV-05236 (LTS) (KHP), 2017 WL
5664852, at *5 (S.D.N.Y. Nov. 27, 2017).
123. Id. at *12.
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efforts.”124 The magistrate judge denied the motion, reasoning
that the defendant did not provide “any specific examples of
deficiencies” in the production “or any specific reason why it
questions the adequacy of [plaintiff’s] document collection and
review.”125 The defendant also waited until the last day of fact
discovery to file its motion, and “should have sought court in-
tervention long ago” on any “specific concerns about [plain-
tiff’s] TAR process.”126
    On review by the district judge (Entrata II), the court af-
firmed the magistrate judge’s ruling, rejecting the defendant’s
argument that the Federal Rules of Civil Procedure and case law
required the plaintiff “in the first instance, to provide transpar-
ent disclosures as a requirement attendant to its use of TAR.”127
The court distinguished the cases that the defendant cited, not-
ing that they all involved TAR processes upon which the parties
had agreed. 128 The parties’ ESI Order required them to raise any
questions regarding search methodology within 30 days of the
Order, which had long since passed.129 The court further rea-
soned that “‘[t]he scope of the obligation to search for, and pro-
duce, ESI is circumscribed by Federal Rule of Civil Procedure
26(g) . . . .’ [b]ut ‘[n]othing in Rule 26(g) obligates counsel to dis-
close the manner in which documents are collected, reviewed
and produced in response to a discovery request.’” 130


124. Entrata, Inc. v. Yardi Sys., Inc., No. 2:15-cv-00102-CW-PMW, 2018 WL
3055755, at *3 (D. Utah June 20, 2018).
125. Id.
126. Id.
127. Entrata, 2018 WL 5470454, at *4 (D. Utah Oct. 29, 2018).
128. Id. at *6–7.
129. Id. at *6.
130. Id. (quoting Karl Schieneman & Thomas C. Gricks III, The Implications
of Rule 26(g) on the Use of Technology-Assisted Review, 7 FED. CTS. L. REV. 239,
243 (2013)). Cf. In re Broiler Chicken II, 2022 WL 2812679, at *1 (E.D. Okla.
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     Unless deficiencies are shown, courts typically resist re-
quests for “discovery on discovery,” including discovery of a
responding party’s TAR process. In Kaye v. New York City Health
and Hospitals, although the defendants disclosed that they
planned to use TAR 2.0 technology, the software they intended
to use, the review workflow, and the validation methodology,
the plaintiff requested the defendants’ pre-TAR search terms
and a review of the “culling” process. 131 The court declined the
plaintiff’s request for “discovery on discovery,” citing the plain-
tiff’s failure to meet and confer with the defendants or provide
any examples of production deficiencies. 132
    The court reasoned that “whether [documents are] produced
electronically or otherwise, the Court does not believe that, in
the first instance, the receiving party has a right to examine and
evaluate the way the production was made or require collabo-
ration in the review protocol and validation process.” 133 The
court ruled that any inquiry into a responding party’s method-
ology must be based on identification of some deficiency and




Feb. 7, 2022) (discussed infra); see also, Quirurgil, S.A.S. v. Hologic, Inc., No.
20-cv-10909-IT, 2022 WL 2719528 at *3 (D. Mass. Jan. 7, 2022). Based on the
responding party’s representation in discovery responses that it was produc-
ing “all” responsive documents, and finding no evidence the contrary, the
court refused to compel any further production based only on the fact the
responding party had used TAR. However, it warned, “If, however, that rep-
resentation is not accurate, and Hologic has only produced responsive doc-
uments it identified through Technology Assisted Review, it should
promptly amend its responses and set forth any limitations based on the re-
view it conducted.”
131. Kaye v. N.Y.C. Health & Hospitals Corp., No. 18-CV-12137 (JPO)
(JLC), 2020 WL 283702, at *2 (S.D.N.Y. Jan. 21, 2020).
132. Id. at *1.
133. Id. at *2.
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must be proportional to the facts and circumstances of the
case. 134
    In similarly denying a request for “discovery about discov-
ery,” the court in Edwards v. Scripps Media, Inc. considered a mo-
tion for a protective order to prevent the plaintiff from taking a
post-production 30(b)(6) deposition on nineteen topics, each
with up to ten subparts. 135 The court rejected the plaintiff’s re-
quest to inquire into the defendant’s TAR processes, review
workflows, and discovery metrics such as the total volume of
ESI “collected, reviewed, and produced.”136 The court referred
to precedent demonstrating that “[c]ourts have ordered ‘discov-
ery about discovery’ when the record suggests that there is rea-
son to distrust the responding party’s diligence.” 137
    In some cases, where no deficiency by the responding party
was shown, courts have refused to grant requesting parties ac-
cess to nonresponsive documents in the training or validation
sets to assess the efficacy of the responding party’s TAR pro-
cess. 138
    In In re Biomet, the court denied the plaintiffs’ request for
production of the entire seed set used to train the TAR algo-
rithm.139 The court observed, “[t]hat request reaches well be-
yond the scope of any permissible discovery by seeking irrele-
vant or privileged documents used to tell the algorithm what


134. Id.
135. Edwards v. Scripps Media, Inc. 331 F.R.D. 116, 117–20 (E.D. Mich.
2019).
136. Id. at 120.
137. Id. at 125.
138. These cases involved TAR 1.0 procedures, where the training sets tend
to be a more discreet subset of the overall TAR population. See Section II.B.
139. In re Biomet M2a Magnum Hip Implant Prods. Liab. Litig., No. 3:12-
MD-2391, 2013 WL 1729682 (N.D. Ind. Apr. 18, 2013); In re Biomet, 2013 WL
6405156 (N.D. Ind. Aug. 21, 2013).
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not to find.”140 The court reasoned that Federal Rule of Civil Pro-
cedure 26(b)(1) only makes relevant, nonprivileged information
discoverable, and it commented that “I’m puzzled as to the au-
thority behind [plaintiffs’] request.”141 The court also stated that
although The Sedona Principles and local discovery rules en-
courage parties to cooperate in discovery, neither “expands a
federal district court’s powers.”142 Accordingly, the court stated,
the plaintiffs “can’t provide me with [the] authority to compel
discovery of information not made discoverable by the Federal
Rules.” 143
    Similarly, in Aurora Cooperative Elevator, the court denied the
plaintiff’s request to require the defendant to disclose the non-
relevant documents within the training set. 144 Citing Rule
26(b)(1), the court found the defendant’s argument was “sup-
ported by the language, if not the spirit, of the civil discovery
rules,” and that “the rules do not authorize ordering the defend-
ants to disclose irrelevant information.”145

        C.        Disclosure Required to Address Production
                  Deficiencies
    Courts have ordered disclosure of process and documents
when a deficiency is shown in the responding party’s produc-
tion or TAR process. Courts have held that reasonableness, ra-
ther than perfection, is the standard in discovery, and particu-
larly in document review. Courts may order disclosure of
nonresponsive documents where some degree of human error


140. In re Biomet, 2013 WL 6405156, at *1.
141. Id. at *1–2.
142. Id. at *2.
143. Id.
144. Aurora Coop. Elevator Co. v. Aventine Renewable Energy-Aurora W.
LLC, No. 4:12CV230, 2015 WL 10550240, at *2 (D. Neb. Jan. 6, 2015).
145. Id.
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is established, even if TAR processes are not considered demon-
strably deficient overall. However, errors in a small subset of
documents will not generally imply production-wide deficien-
cies or prompt additional disclosures.
    Even where a TAR process was overall reasonable and not
deficient, some additional disclosure may be appropriate if spe-
cific deficiencies are known. In Winfield v. City of New York, the
court ordered the City to provide plaintiffs with sample sets of
nonprivileged, nonresponsive documents that had been used to
train the TAR software. 146 The plaintiffs objected to the City’s
use of TAR because they believed that the City’s reviewers had
overdesignated documents as nonresponsive during the train-
ing stages and had improperly trained the TAR software.147
While the court did not find that the TAR process as a whole
was defective, it nevertheless found that there was sufficient ev-
idence to justify the plaintiffs’ request. 148 The court reasoned
“that the sample sets will increase transparency, a request that
is not unreasonable in light of the volume of documents col-
lected from the custodians, the low responsiveness rates of doc-
uments pulled for review by the TAR software, and the exam-
ples that [p]laintiffs have presented, which suggest there may
have been some human error in categorization that may have
led to gaps in the City’s production.”149 Despite its order, the



146. Winfield v. City of New York, No. 15-CV-05236 (LTS) (KHP), 2017 WL
5664852 (S.D.N.Y. Nov. 27, 2017).
147. See id. at *12.
148. See id. at *25.
149. Id. at *9, 11. The court reasoned that responding parties are in the best
position to manage their own discovery and are not held to a standard of
perfection, noting that courts should not “insert themselves as super-manag-
ers of the parties’ internal review processes, including training of TAR soft-
ware, or . . . permit discovery about such process, in the absence of evidence
of good cause . . . .”
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court acknowledged that “[p]laintiffs have [not] identified any-
thing in the TAR process itself that is inherently defective.”150
    A court may also order disclosure of information about the
TAR process where a responding party both fails to provide
transparency about its TAR process and where at least some in-
dicia of possible production deficiencies exist. In In re Broiler
Chicken II, the plaintiffs and a third-party respondent had nego-
tiated and agreed upon search terms. After receiving the third
party’s production and then discovering TAR had been used,
the plaintiffs moved to compel all documents that hit on the ne-
gotiated search terms. 151 The court noted the third party was not
bound by any court order regarding its review and production
process, and it had reserved the right to review documents prior
to production in its agreement with the plaintiffs. 152 However, it
also acknowledged that the plaintiffs had legitimate questions
about the use of TAR given potential “gaps in the production
and legitimate questions about what was and was not pro-
duced;” for example, the third party had produced a low num-
ber of emails compared to the defendants’ production, which
contained many more emails involving the third party. The
court denied the requested relief, but it ordered the third party
“to explain its culling method and to justify why documents
were not produced based on those agreed upon search
terms.” 153
   At least one court has granted “discovery about discovery”
through a Rule 30(b)(6) deposition where the parties had previ-
ously agreed to such an examination. In In re Santa Fe National



150. Id. at 11.
151. In re Broiler Chicken II, No. 6:20-2977-RJS-CMR, 2022 WL 2812679
(E.D. Okla. Feb. 7, 2022).
152. Id. at *3.
153. Id. at *3.
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Tobacco Co. Marketing & Sales Practices & Products Liability Litiga-
tion, the plaintiffs sought a Rule 30(b)(6) deposition to deter-
mine “why the [d]efendants’ use of predictive coding failed to
produce hundreds of thousands of potentially responsive doc-
uments.” 154 The plaintiffs also contended that the defendants’
use of TAR violated the ESI Order because they did not alert the
plaintiffs that they were using it. 155 The court did not rule on
whether the use of TAR violated the ESI Order but agreed that
“[a]s a result of a predictive-coding issue, the [d]efendants did
not produce all relevant, non-privileged discovery.” 156 The
plaintiffs initially requested the deposition at a status confer-
ence on the TAR deficiencies, and the defendants agreed to it at
that time. 157 The court thus enforced that agreement and al-
lowed the plaintiffs to take one three-hour 30(b)(6) deposition
to “inquire into the defendants’ discovery methodology.”158

        D.         Disclosure Required to Address Misconduct
   A court may require disclosure of training documents as a
remedy where the responding party has repeatedly failed to im-
plement an effective TAR process or otherwise engaged in mis-
conduct. In Independent Living Center v. City of Los Angeles, the
court ordered the use of TAR to search more than two million
documents after “little or no discovery was completed” before
the discovery cutoff, and the parties had ongoing disputes after
“months of haggling” over search terms that yielded large




154. In re Santa Fe Nat. Tobacco Co. Mktg. & Sales Practs. & Prods. Liab.
Litig., No. MD 16-2695 JB/LF, 2018 WL 3972909, at *1 (D.N.M. Aug. 18, 2018).
155. Id. at *2.
156. Id. at *11.
157. Id. at *4.
158. Id. at *11.
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numbers of documents for review. 159 Although the defendant
was initially concerned about the costs of using TAR, it agreed
to do so when the court stated that it would only be required to
produce the top 10,000 documents identified by the TAR tool.
At the defendant’s request, and to avoid subsequent disputes,
the court also ordered that the plaintiff “be involved in and play
an active role” in the training process, including making “rele-
vance determinations” in the training documents. 160 The court
held that the defendant was not necessarily required to engage
in a quality-assurance process as part of the TAR protocol; how-
ever, if the plaintiff insisted on such a process, then the plaintiff
would have to pay for 50 percent of its costs. 161

        E.      Failure to Disclose TAR Not Contemplated by
                ESI Protocol
   In Progressive Casualty Insurance Co. v. Delaney and In re
Valsartan, Losartan & Irbesartan Products Liability Litigation, the
responding parties had agreed to ESI protocols, which were ap-
proved and entered as orders by the courts at the outset of dis-
covery, providing for the use of traditional search terms and
manual review. When the review became cost-prohibitive, how-
ever, the responding parties unilaterally decided to change
course and use TAR without seeking the requesting party’s
agreement or leave of the court to amend the ESI Order. 162 The
court in Progressive denied the responding party’s request to use



159. Indep. Living Ctr. v. City of Los Angeles, No. 2:12-cv-00551, Minute
Order at 1, ECF 375 (C.D. Cal. June 26, 2014).
160. Id.
161. Id.
162. In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., 337 F.R.D.
610, 614 (D.N.J. 2020), also discussed in Sections III.B, III.C, V.A, and VI.A;
Progressive Cas. Ins. Co. v. Delaney, No. 2:11-cv-00678-LRH-PAS, 2014 WL
3563467, at *2 (D. Nev. Jul. 18, 2014).
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TAR and ordered it to produce all documents that hit on the
search terms, subject to clawback of privileged documents or
the application of privilege filters to withhold documents
deemed more likely privileged and identified on a privilege
log. 163 The court in Valsartan refused to “endorse a TAR protocol
that was unilaterally adopted by a producing party without any
input from the requesting party.”164 Instead, the court ordered
the responding party to use a TAR protocol that was negotiated
in part but had not been fully agreed upon by the parties. 165
    In Valsartan, the court ordered the production of a sample of
5,000 null-set documents of the plaintiff’s choosing in response
to the defendant’s failure to timely disclose its use of TAR. The
defendant first raised its intention to use TAR to cull documents
over a year after the court had entered a stipulated ESI Order
relating to searching that required timely disclosure if TAR
would be used to cull documents. The parties negotiated and
almost agreed on a TAR protocol, but the defendant would not
agree to submit the protocol for the court to order, or to disclose
a sample of 5,000 documents that TAR predicted were not re-
sponsive and were withheld from production. Although the de-
fendant then represented to the court that it was abandoning
TAR, it nevertheless used TAR and then sought permission to
end its review of documents predicted by TAR as not respon-
sive, based on proportionality considerations.
    Noting that defendant had violated the ESI protocol “by not
timely disclosing its use or possible use of its CMML [TAR 2.0],”
the court entered the TAR protocol to which the defendants had
previously objected as a court order, giving the plaintiffs the
“right to review at the end of [defendant’s] production 5,000



163. Progressive, 2014 WL 3563467, at *11.
164. In re Valsartan, 337 F.R.D. at 622.
165. Id. at 624.
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alleged nonresponsive documents.” 166 Valsartan demonstrates
that parties should carefully follow provisions of ESI proto-
cols. 167




166. Id. at 617, 624.
167. See Section VI regarding ESI protocols.
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V.      TAR WORKFLOW CONSIDERATIONS

    Some issues discussed in the First Edition Primer have seen
no judicial activity since its publication in 2017 (e.g., retraining
the TAR Tool), 168 while others such as keyword culling before
TAR and recall thresholds and validation have had multiple de-
cisions.

        A.      Search-Term Culling Before TAR
    Numerous cases have addressed the use of search terms to
cull the document population before applying TAR. As illus-
trated below, there is a split in authority on whether the appli-
cation of TAR after keyword culling is permissible.

                1.       Cases Allowing TAR after Keyword
                         Culling
    In In re Biomet, the court upheld the defendant’s use of key-
words to cull the collected dataset before applying TAR. 169 The
defendant had used keywords to cull the collected document set
from 19.5 million documents and attachments down to 3.9 mil-
lion documents and attachments. After de-duplicating the doc-
uments, the defendant used TAR on this smaller data set, iden-
tifying almost two million documents for production. The court


168. For example, Smilovits v. First Solar Inc., No. 2:12-cv-00555, slip op. at
1–2, ECF 248 (D. Ariz. Nov. 20, 2014) addressed whether the responding
party can be required to respond to additional document requests after it has
already used TAR to respond to a prior round of requests. The court held
that the defendants’ use of TAR in response to the plaintiffs’ first round of
document requests did not confine the plaintiffs’ document discovery to the
first round of requests. The court also noted that the defendants had not ex-
plained why the search for additional documents required the use of TAR,
nor had they provided any concrete information about the costs to “retrain”
the TAR tool to deal with subsequent requests.
169. In re Biomet M2a Magnum Hip Implant Prods. Liab. Litig., No. 3:12-
MD-2391, 2013 WL 1729682 (N.D. Ind. Apr. 18, 2013).
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denied the plaintiffs’ motion to require the defendant to redo its
search and review process using TAR on the entire document
population that it had collected, instead of just on the docu-
ments that resulted from a keyword search. 170
    The plaintiffs argued that keyword search is less accurate
than TAR and that the defendant’s efforts were tainted by using
keyword search before TAR. The court, however, stated that
“[t]he issue before me today isn’t whether predictive coding is
a better way of doing things than keyword searching prior to
predictive coding.” Rather, “I must decide whether Biomet’s
procedure satisfies its discovery obligations[.]” 171
    The court rejected the plaintiffs’ arguments, holding that the
defendant’s methodology satisfied the standard set forth in Fed-
eral Rules of Civil Procedure 26 and 34, namely, that its efforts
must be “reasonable.” The court also considered proportional-
ity factors in its decision:
        It might well be that predictive coding, instead of
        a keyword search . . . would unearth additional
        relevant documents. But it would cost Biomet a
        million, or millions, of dollars to test the [plain-
        tiffs’] theory that predictive coding would pro-
        duce a significantly greater number of relevant
        documents. Even in light of the needs of the hun-
        dreds of plaintiffs in this case, the very large
        amount in controversy, the parties’ resources, the
        importance of the issues at stake, and the im-
        portance of this discovery in resolving the issues,
        I can’t find that the likely benefits of the discovery
        proposed by [plaintiffs] equals or outweighs its



170. Id. at *2.
171. Id.
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        additional burden on, and additional expense to,
        Biomet. 172
   In Rio Tinto, the court permitted the use of keyword culling
before TAR because it was agreed to as part of the parties’ stip-
ulated protocol. 173 “The Court itself felt bound by the parties’
protocol, such as to allow keyword culling before running TAR,
even though such pre-culling should not occur in a perfect
world.” But the court also noted that “the standard for TAR is
not perfection,” nor “best practices,” “but rather what is reason-
able and proportional under the circumstances.” 174
    In Bridgestone, after an initial search-term cull done accord-
ing to a stipulated court order, the court permitted the respond-
ing party to “switch horses in midstream” to undertake a hybrid
approach, using TAR on the resulting document set of more
than two million documents requiring review. 175 The court ex-
pressly recognized that TAR use was a “judgment call” and
raised the option that the requesting party could also consider
switching to TAR if it believed that would be more efficient for
its own review. 176
   Several recent decisions suggest a growing trend that courts
find keyword culling prior to the use of TAR to be permissible.
In Livingston, the court permitted the defendant to use TAR to
review the culled document set over the plaintiffs’ objection that


172. Id. at *3.
173. Rio Tinto PLC v. Vale S.A., No. 14 Civ. 3042(RMB)(AJP), 2015 WL
4367250, at *1 (S.D.N.Y. July 15, 2015).
174. See id.
175. Bridgestone Ams., Inc. v. Int’l Bus. Machs. Corp., No. 3:13-1196, 2014
WL 4923014, at *1 (M.D. Tenn. July 22, 2014).
176. Id. See also United States ex rel. Proctor v. Safeway, Inc., No. 11-cv-
3406, 2018 WL 1210965, at *3 (C.D. Ill. Mar. 8, 2018) (while not specifically
evaluating the issue, the court did not object to party’s TAR to conduct its
responsiveness review on the dataset collected using search terms).
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the review would create an incomplete production. 177 The court
noted that application of the TAR tool to the original collection
of documents would be unduly burdensome and wasteful. In
its ruling, the court agreed with the defendant that it was using
TAR as a responsiveness review tool and not a culling tool, and
accordingly, it could be used after application of agreed upon
search terms because “it satisfies the reasonable inquiry stand-
ard and is proportional to the needs of this case under the fed-
eral rules.”178
    In Valsartan, while holding that the defendant’s use of TAR
after using negotiated search terms to cull the data for review
and without notification to the plaintiffs violated the entered
ESI protocol, the court made clear that the lack of notice was the
issue, observing “[a]mple case law exists to support [defend-
ants’] position that in appropriate instances layering may be
done.”179
    Further, in Maurer v. Sysco Albany, LLC, the court upheld the
defendant’s use of TAR post-search-term culling. 180 The parties
had disagreed on the scope of custodians, date ranges, and
search terms as well as the defendant’s use of TAR post-culling.
The plaintiff proposed that the defendant either manually re-
view all documents resulting from a broad list of search terms
or use TAR on each custodian’s entire mailbox for a date range
that covered a large time period. The defendant proposed that
it use TAR after application of more narrow date ranges and


177. Livingston v. City of Chicago, No. 16 CV 10156, 2020 WL 5253848, at
*1 (N.D. Ill. Sept. 3, 2020). See also case discussion in Sections III.C, IV.B, and
VI.A.
178. Id. at *3.
179. In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., 337 F.R.D.
610, 615 (D.N.J. 2020). Also discussed in Sections III.B and IV.E and VI.A.
180. Maurer v. Sysco Albany, LLC, No. 1:19-CV-821(TJM/CFH), 2021 WL
2154144 (N.D.N.Y. May 27, 2021).
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search terms. In upholding the use of TAR on data resulting
from the application of search terms, the court noted that “the
cost of conducting a linear review of every hit resulting from a
search term-based search that includes all custodians’ names
and name derivatives or reviewing the full custodian accounts
using predictive coding dating back to 2013 is not proportional
to the benefit and importance of ESI in resolving the issues pre-
sented in this case.”181 The court did, however, order the defend-
ant to modify its search term list used for culling to include cer-
tain broader terms proposed by the plaintiff. 182
   In Huntsman v. Southwest Airlines Co., the plaintiff chal-
lenged, inter alia, the defendant’s use of keyword searches to
limit to scope of ESI review. 183 The court rejected the plaintiff’s
challenge, finding that the defendant’s “approach to using key-
word searches and technology-assisted review in tandem does
not offend the court’s expectations that the parties conduct a
reasonable inquiry as required by the rules.”184
    In In re Diisocyanates, in ruling on several motions to compel
regarding search-term culling, TAR, and validation protocols,
the court held that a reasonable set of search terms could be
used to cull down collected data prior to applying TAR. 185 The
court declined, however, to approve either party’s proposed
search-term lists, sending them back to renegotiate. In so doing,
it noted that it is reasonable to use broader search terms to cull
data prior to application of TAR because recall is more


181. Id. at *9.
182. Id.
183. Huntsman v. Sw. Airlines Co., No. 19-cv-00083-PJH, 2021 WL 3504154,
at *3 (N.D. Cal. Aug. 10, 2021).
184. Id. at *3.
185. In re Diisocyanates Antitrust Litig., No. 18-1001, MDL No. 2862, 2021
WL 4295729 (W.D. Pa. Aug. 23, 2021), adopted by In re Diisocyanates, 2021 WL
4295719 (W.D. Pa. Sept. 21, 2021).
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important than precision in those instances. “In this regard, it
should be kept in mind that the function of search terms in this
case is not to identify documents for production or even to select
those that will be provided directly to human reviewers; it is to
narrow the universe of documents to which TAR will be ap-
plied. In this context, precision, which is what defendants ap-
pear to seek, is relatively less important than recall.”186
    After keyword searches were complete and the Diisocyanates
defendants asserted they had completed their TAR review, the
special master considered the recall rates of the search terms
and TAR processes together, as well as the quantity and quality
of each process individually. He also stated that “because large
swaths of documents had already been excluded by search
terms, it is particularly important not to stop the [TAR 2.0] re-
view of the remaining documents prematurely.”187
    In Zhulinska v. Niyazov Law Group, P.C., the court found the
defendant failed to prove unreasonable burden to review addi-
tional document volumes associated with the plaintiff’s re-
quested keyword searches, in part because “predictive coding
is an efficient and acceptable means of culling relevant respon-
sive documents to be produced from ESI identified through
keyword searches.”188
    Lastly, in In re Broiler Chicken II, the court held that a third
party had not been required to seek approval from the court to
use TAR in addition to negotiated keyword searches, where the
third party had “reserved the right to review the documents for




186. Id. at *10. Recall and precision are discussed in Section V.C.
187. In re Diisocyanates, 2022 WL 17668470, at *12 (W.D. Pa. Oct. 19, 2022),
modified by In re Diisocyanates, ECF No. 800 (W.D. Pa. Oct. 21, 2022).
188. Zhulinska v. Niyazov Law Grp., P.C., No. 21-CV-1348, Memorandum
and Order at 8, ECF 58 (E.D.N.Y. Nov. 12, 2021).
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relevance” in negotiations about keywords. 189 However, given
concerns about potential “gaps in the production,” the court or-
dered the third party to disclose its TAR methodology to the re-
questing party. 190

                  2.      Cases Not Allowing TAR after Keyword
                          Culling
    While some courts have allowed TAR after keyword culling,
others have disallowed it. In FCA U.S. v. Cummins, the court
held that TAR should be applied before culling the document
set with search terms.191 As the court explained, “[a]pplying
TAR to the universe of electronic material before any keyword
search reduces the universe of electronic material is the pre-
ferred method. The TAR results can then be culled by the use of
search terms or other methods.”192
    In In re Allergan Biocell Textured Breast Implant Products Liabil-
ity Litigation, the defendants sought to use TAR after search
terms had been applied, citing burden and efficiency con-
cerns. 193 The defendants also argued that that the application of
search terms prior to TAR was “consistent with the majority of
courts” that had addressed the issue. 194 The court disagreed



189. In re Broiler Chicken II, No. 6:20-2977-RJS-CMR, 2022 WL 2812679, at
*2 (E.D. Okla. Feb. 7, 2022).
190. Id. at *3. See also Klein v. Facebook, Inc., 2021 U.S.Dist. LEXIS 175738,
*8 (N.D.Cal. 2021) (requiring responding party to disclose its intent to use
TAR and how it will be used in conjunction with search terms, but not re-
quiring a party using TAR to follow or negotiate any particular protocol).
191. FCA US LLC v. Cummins Inc., No. 16-12883, 2017 WL 2806896 (E.D.
Mich. Mar. 28, 2017).
192. Id. at *1.
193. In re Allergan Biocell Textured Breast Implant Prods. Liab. Litig., No.
2:19-md-2921 (BRM)(ESK), 2022 WL 16630821, at *1 (D.N.J. Oct. 25, 2022).
194. Id. at *2.
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with the defendants’ “characterization of the case law,” noting
that “[t]here is no such general principle espoused by the courts
or the commentators.” 195 In finding that the defendants could
not use TAR after search terms, the court emphasized the de-
fendants had not sufficiently established the burden, and that
the court-ordered ESI Protocol stipulated by the parties re-
quired them to cooperate, but they had not reached agreement
on TAR. 196
    The court in Progressive also considered the court’s ESI or-
der.197 The court denied the plaintiff’s request, which it made
late in the discovery process and without agreement from de-
fendant, to switch from the search terms and manual review
process provided for in the court’s ESI order to search-term cull-
ing followed by TAR. The court reasoned that the plaintiff’s pro-
posal violated the parties’ stipulated ESI protocol, as entered by
the court, which had been contentiously negotiated by the par-
ties. Further, the court criticized the plaintiff’s plan to apply
TAR only to documents hitting the search terms, observing that
its proposed process “lacks transparency and cooperation re-
garding the search methodologies [to be] applied” and would
therefore be inconsistent with the “best practices” guide of its
own TAR vendor.198

        B.         Validation
   Some courts have held that when a party uses TAR, the Fed-
eral Rule of Civil Procedure 26(g) “reasonable inquiry” stand-
ard incorporates an obligation for the responding party to



195. Id.
196. Id. at *4.
197. Progressive Cas. Ins. Co. v. Delaney, No. 2:11-cv-00678-LRH-PAL,
2014 WL 3563467 (D. Nev. July 18, 2014). Section VI discusses protocols.
198. Id. at *10.
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validate its results. 199 Courts may require validation regardless
of whether parties use TAR or keyword searches. City of Rock-
ford v. Mallinckrodt ARD Inc. involved a responding party that
had refused to validate the results of its keyword searches.
While the parties had agreed to use of keyword searches, they
approached the court at an impasse on post-production valida-
tion processes. 200 The plaintiffs proposed that the defendants
provide a random sample of the null set, followed by meeting
and conferring to determine whether any additional terms or
term modifications were necessary. The court agreed, reasoning
that “random sampl[ing] of the null set is a part of the TAR pro-
cess” to quantify “the documents that will be missed and not
produced,” and there is “no reason . . . that a random sampling
of the null set cannot be done when using key word search-
ing.”201 The court adopted the parties’ proposed ESI order “with
the inclusion of Plaintiffs’ proposal that a random sample of the
null set will occur after the production and that any responsive
documents found as a result of that process will be pro-
duced.”202
   In one early TAR case, Independent Living Center v. City of Los
Angeles, after the parties disagreed whether the TAR advisor
had said “quality control” (validation) was needed, the court



199. In re Diisocyanates Antitrust Litig., No. 18-1001, MDL No. 2862, 2021
WL 4295729 at *6 (W.D. Pa. Aug. 23, 2021), adopted by In re Diisocyanates, 2021
WL 4295719 (W.D. Pa. Sept. 21, 2021).
200. City of Rockford v. Mallinckrodt ARD Inc., 326 F.R.D. 489 (N.D. Ill.
2018).
201. Id. at 493, 494.
202. Id. at 496. But see Jim Hawk Truck-Trailers of Sioux Falls, Inc. v. Cross-
road Trailer Sales & Serv. Inc., No. 4:20-CV-04058-KES, 2022 WL 3010143, at
*7 (D.S.D. July 29, 2022) (considering only relevancy rate of last 2,000 docu-
ments reviewed in TAR 2.0 workflow, among other factors, to determine fur-
ther review would not be proportional).
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held that if the requesting party wanted validation done, it
would have to share costs for that process. 203
    Beyond the threshold question of whether a party must val-
idate, opinions focus on the validation metrics of recall and pre-
cision. When using TAR to find responsive documents, “recall”
is a metric that represents an estimate of the percentage of re-
sponsive documents that are found out of the entire set of re-
sponsive documents in the TAR document set. 204 “Precision”
represents an estimate of the percentage of documents that are
truly responsive out of the set of documents identified as poten-
tially responsive.205

                 1.       Role of Recall
   Generally, recall metrics receive more attention from parties
than precision metrics. In Lawson v. Spirit AeroSystems, the de-
fendant used TAR to produce with a recall of approximately 85


203. Indep. Living Ctr. v. City of Los Angeles, No. 2:12-cv-00551, Minute
Order at 3, ECF 375 (C.D. Cal. June 26, 2014) (“It is a feature available in pre-
dictive coding which quantifies the level of accuracy in the search. The fact
that it exists in the system does not mean that the City has to employ it and
pay for it”).
204. “When describing search results, recall is the number of documents
retrieved from a search divided by all of the responsive documents in a col-
lection. For example, in a search for documents relevant to a document re-
quest, it is the percentage of documents returned compared against all doc-
uments that should have been returned and exist in the data set.” The Sedona
Conference Glossary: eDiscovery & Digital Information Management, Fifth Edition,
21 SEDONA CONF. J. 263, 360–61 (2020) (citing The Sedona Conference, Best
Practices Commentary on the Use of Search and Information Retrieval Methods in
E-Discovery, 15 SEDONA CONF. J. 217 (2014).
205. “When describing search results, precision is the number of true posi-
tives retrieved from a search divided by the total number of results returned.
For example, in a search for documents relevant to a document request, it is
the percentage of documents returned that are actually relevant to the re-
quest.” Id. at 354.
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percent, which the court confirmed was reasonable and within
a typical range for TAR matters. 206 The plaintiff had demanded
that the defendant switch from keyword searching to a TAR
methodology, which the defendant ultimately agreed to do,
subject to filing a motion to shift costs based on proportional-
ity.207 An initial review using TAR 2.0 achieved a 68.5 percent
recall rate of responsive documents, but the plaintiff insisted
that the process be repeated until a 75 to 85 percent recall rate
was achieved. The defendant agreed to 80 percent recall and
then, after stopping its review, determined that it had reached
85 percent recall.208
   Even then, however, the plaintiff moved to compel the de-
fendant to perform a second-level review of the set of residual
TAR documents: 1,850 potentially responsive TAR documents
that were reviewed in first-level review, but not in the second-
level review, once the desired recall rate was reached. 209
    The court denied the motion, explaining that the defendant’s
TAR review process was reasonable, and that the plaintiff’s re-
quest for additional review was disproportionate to the needs
of the case. 210 The court noted that at an expense of $600,000,
only 3.3 percent of the 322,000-document set was found to be
responsive, and the defendant produced 85 percent of those re-
sponsive documents. 211 The court rejected the perfection that the


206. Lawson v. Spirit AeroSystems, Inc., No. 18-1100-EFM-ADM, 2020 WL
1813395 (D. Kan. April 9, 2020). See also Lawson, 2020 WL 3288058 (D. Kan.
Jun. 18, 2020), aff’d, 2020 WL 6939752 (D. Kan. Nov. 24, 2020), and Sections
III.C and VIII.B.
207. Lawson, 2020 WL 1813395, at *4; see also Lawson, 2020 WL 3288058, at
*6.
208. Lawson, 2020 WL 1813395, at *7–8.
209. Id. at *5.
210. Id. at *8.
211. Id. at *16.
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plaintiff “effectively demand[ed], which is a 100 percent target
recall rate.”212 Ultimately, the plaintiff had to pay for its unrea-
sonable demands when the court approved fee shifting of the
defendant’s TAR costs to the plaintiff, as discussed below. 213
    In In re Diisocyanates, the parties proffered dueling proposals
on the use of certain search terms and specific TAR methodolo-
gies. 214 The court-appointed special master found that due to the
complexities of TAR, Rule 26(g)’s reasonable inquiry require-
ment requires the responding party to validate its TAR method-
ology. 215 After examining the plaintiffs’ and the defendants’ pro-
posed TAR methodologies, the special master concluded that
the defendants’ proposed methodology contained serious flaws
that would preclude them from certifying that their discovery
responses were reasonable under Rule 26(g). 216 Among other
matters, the defendants proposed to calculate estimated recall
based on elusion sampling217 of the unseen TAR collection and
did not include documents that failed to hit on search terms,
which may have resulted in an overestimation of the recall
rate. 218 The special master held, “In the absence of [an agreement
providing otherwise], it would be plainly unreasonable to



212. Id. at *9.
213. See id.
214. In re Diisocyanates Antitrust Litig., No. MC 18-1001, MDL No. 2862,
2021 WL 4295729 (W.D. Pa. Aug. 23, 2021), adopted by In re Diisocyanates, 2021
WL 4295719 (W.D. Pa. Sept. 21, 2021).
215. In re Diisocyanates, 2021 WL 4295729 at *6 (W.D. Pa. Aug. 23, 2021).
216. Id. at *9.
217. Elusion is “[t]he percentage of documents of a search’s null set that
were missed by the search, usually determined with review of a random
sample of the null set.” The Sedona Conference Glossary: eDiscovery & Digital
Information Management, Fifth Edition, 21 SEDONA CONF. J. 263, 304 (2020). Elu-
sion was used to estimate recall in Diisocyanates.
218. In re Diisocyanates, 2021 WL 4295729, at *9.
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calculate estimated recall for the TAR portion of the process
alone.” 219
    The Diisocyanates defendants then used keyword searches
and a TAR 2.0 review workflow, resulting in recall rates from
both processes that ranged from 74 to 89 percent, which the spe-
cial master held was reasonable and met the 70 to 80 percent
range the parties had represented as generally acceptable. 220 The
special master’s analysis included not only quantitative recall
considerations, but also qualitative analysis of keyword and
TAR validation sets, which were samples of documents not
found by those workflows. 221 The qualitative analysis generally
supported a conclusion that, on their own, any remaining re-
sponsive documents were insufficiently valuable to justify fur-
ther search or review because they were similar to documents
that were found.222 The validation process did not require re-
reviewing the accuracy of a sample of the already-reviewed
documents. 223
   Some defendants were nevertheless required to continue re-
view based on their last batches before stopping the review,
which were 19 percent and 15 percent relevant. The special



219. Id.
220. In re Diisocyanates, 2022 WL 17668470, *11, 18 (W.D. Pa. Oct. 19, 2022),
modified by In re Diisocyanates, ECF No. 800 (W.D. Pa. Oct. 21, 2022).
221. Id, at *4–7. The special master also recognized limitations of recall
when analyzing reasonability of a search process. Id. at 6 (“At the same time,
broad validation statistics such as recall, standing alone, are of limited utility
in ascertaining whether a party has done a reasonable job of searching for
such rare documents.”).
222. Id. at *4–7.
223. Id. at *8 (“The defendants’ methodology may be imperfect, and it may
result in higher estimated recall figures than if the plaintiffs’ approach were
used, but it is not unreasonable, particularly given the extent by which the
defendants exceeded the lower end of the acceptable range”).
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master instructed the parties to continue their review at least
until relevance declined to 10 percent and the responsive docu-
ments in the last-reviewed batches were insufficiently valuable,
based on proportionality factors. 224

                  2.     Role of Precision
    While recall metrics tend to have some established range of
acceptability when using TAR, acceptable precision metrics that
correspond to those recall points can vary widely from case to
case. While cases dealing in these metrics focus on how low re-
call may reasonably be, one case deals in the opposite issue: how
low precision may reasonably be (despite involving higher re-
call). In In re Domestic Airline Travel Antitrust Litigation, a multi-
district class action, the parties had entered into a validation
protocol “to ensure accuracy and completeness.” 225 One busi-
ness day before the production deadline, the defendant pro-
vided erroneous TAR validation metrics to the plaintiffs, report-
ing an estimated recall of 85 percent and an estimated precision
of 58 percent. The defendant also provided the validation sam-
pling metrics required by the TAR protocol. “When Plaintiffs
analyzed the metrics, they found that the statistics from the val-
idation sample indicated that the TAR process resulted in a re-
call of 97.4% and precision of 16.7%,” in contrast to the metrics
provided by defendant. 226 After exchanges between the parties,
the defendant acknowledged that it had made an error. 227 The
court stated that “the answer seems to be that unless




224. Id. See Section VII, discussing the proportionality analysis.
225. In re Domestic Airline Travel Antitrust Litig., No. 15-1404 (CKK), 2018
WL 4441507, at *3 (D.D.C. Sept. 13, 2018).
226. Id. at *4.
227. Id.
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[defendant] starts the process over, Plaintiffs must review all the
documents.” 228
    In granting the plaintiffs’ motions to extend fact discovery,
the court noted that “[defendant’s] production of core docu-
ments . . . varied greatly from the control set in terms of the ap-
plicable standards for recall and precision and included a much
larger number of non-responsive documents that [sic] was an-
ticipated. Additionally, Plaintiffs diligently sought an amend-
ment of the schedule after it became apparent that there was no
way to resolve the excess non-responsive document issue short
of starting over, and the 70 attorneys engaged in document re-
view were not going to be able to complete the job under the
current deadlines.”229




228. Id.
229. Id. at *7.
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VI.      DEFERENCE TO COURT-ORDERED ESI PROTOCOLS

   As ESI protocols have become increasingly routine, courts
have assessed a responding party’s production decisions
against any governing protocol, often enforcing the provisions
negotiated by the parties or imposed by the court. 230 Where no
ESI protocol exists, however, the outcome is more varied.
   In Livingston and Valsartan, the existence of a negotiated and
entered ESI protocol dictated how the court handled a party’s
decision to use TAR.
    In Livingston, the court ruled that the defendant’s use of TAR
was permissible because it did not contradict the existing proto-
col ordered by the court. 231 In that case, the parties had spent
two years negotiating an ESI protocol, which was silent on the
method and process for review but included a detailed process
for collection and keyword culling. After the court entered the
protocol, the defendant notified the plaintiffs that it intended to
use TAR to review the keyword-culled documents. The plain-
tiffs objected, arguing that because the defendant never men-
tioned using TAR during the protocol negotiations, doing so
would violate the protocol. The court disagreed, noting that the
protocol “did not set forth the review methodology that the City
must use to identify responsive ESI.”232




230. See also Section V.A on use of TAR after search-term culling.
231. Livingston v. City of Chicago, No. 16 CV 10156, 2020 WL 5253848
(N.D. Ill. Sept. 3, 2020). See also case discussion in Sections III.C, IV.B, and
V.A.
232. Id. at *3; see also id., citing The Sedona Principles, Third Edition, supra note
3, Principle 6 (citing Sedona Principle 6, court held that the defendant could
use TAR to review the culled documents because “Responding parties are
best situated to evaluate the procedures, methodologies, and technologies
appropriate for preserving and producing their own [ESI].”).
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    In contrast, the court in Valsartan ruled that the defendant
violated the existing ESI protocol when it did not timely disclose
that it would use TAR to cull documents without the plaintiffs’
consent, because the protocol required timely disclosure when
its use was reasonably foreseeable. 233 In ruling that the defend-
ant violated the protocol, however, the court nevertheless noted
that it “agree[d] with the line of cases that holds that a produc-
ing party has the right in the first instance to decide how it will
produce its documents.” 234
    Whether parties unilaterally design their own TAR protocol
or enter into one by agreement or court order, it is important to
understand what such protocols require and how those require-
ments may be treated by the Court. In Domestic Airline, for ex-
ample, the parties entered into a validation protocol “to ensure
accuracy and completeness.” 235 That agreement was later used
to support the plaintiffs’ successful request for an extension of
fact discovery where the defendant’s production demonstrated
a low level of precision, resulting in the production of “millions
of non-responsive documents.” 236 The protocol required the de-
fendant to “set a minimum estimated recall rate of 75% but [to]
endeavor to achieve a higher estimated recall rate if that rate
may be obtained with a reasonable level of precision through
reasonable additional training effort.”237 In granting the plain-
tiffs’ extension request, the court reasoned that the TAR


233. In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., 337 F.R.D.
610, 617 (D.N.J. 2020). This case is also discussed in Sections III.B., III.C, IV.E.,
and V.A.
234. Id. at 616, citing Hyles v. New York City, 10 Civ. 3119 (AT)(AJP), 2016
WL 4077114, at *2 (S.D.N.Y. Aug. 1, 2016).
235. In re Domestic Airline Travel Antitrust Litig., No. 15-1404 (CKK), 2018
WL 4441507, at *3 (D.D.C. Sept. 13, 2018).
236. Id. at *4.
237. Id. Recall and precision are discussed in Section V.C.
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protocol noted that a reasonable level of precision was a con-
cern, contradicting the defendant’s argument that the plaintiffs
wanted a high level of TAR recall “without focusing on preci-
sion” and “got what they bargained for.”238
    Courts have reached differing conclusions on whether a re-
sponding party may switch to TAR in the middle of discovery
after having previously agreed to use search terms and manual
review.
    In Progressive, 239 the court denied the plaintiff’s request to
use TAR. The factors the court cited included: the plaintiff
sought to use TAR extremely late in the discovery period; it had
not yet produced a single document; it had previously agreed
in the parties’ ESI protocol to use search terms and manual re-
view; it was not willing to reveal its coding decisions and irrel-
evant documents in the seed and later training sets; and it made
the decision to switch to TAR unilaterally, without informing
the defendants or the court. 240 According to the court, the parties
had “spent months narrowing search terms,” at the plaintiff’s
insistence, to reduce its burden. 241 The narrowed search terms
that the parties agreed on yielded 565,000 “hit” documents out
of a total population of 1.8 million. Although the plaintiff had
initially represented that it would begin production in Septem-
ber 2013 and complete it by the end of October 2013, it advised
the requesting party on December 20, 2013, that the process of


238. Id. at *5. See also Youngevity Int’l Corp. v. Smith, No. 16-cv-00704-
BTM (JLB), 2017 WL 6541106, at *1, *12 (S.D. Cal. Dec. 21, 2017) (raising fee-
shifting option for requesting party to conduct TAR on “document dump”
where responding party produced all results of keyword searches without
doing any relevance review to remove nonresponsive documents).
239. Progressive Cas. Ins. Co. v. Delaney, No. 2:11-cv-00678-LRH-PAL,
2014 WL 3563467 (D. Nev. July 18, 2014).
240. Id. at *8–10.
241. Id. at *5.
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reviewing the documents retrieved by the search terms was un-
workable.242
    As an alternative to manual review, the plaintiff proposed to
apply TAR to the 565,000 documents that “hit” on the search
terms and estimated that plaintiff’s TAR process would result
in a recall of 70 to 80 percent (i.e., that it would find 70 to 80
percent of the total number of relevant documents in the collec-
tion). The plaintiff would then manually review the documents
identified by TAR for production. 243
    The Progressive court rejected the plaintiff’s proposal on the
grounds that it had previously agreed to manually review the
search term hits and it was too late to change course, particu-
larly since its proposal lacked transparency and cooperation
and would further delay completion of discovery. The court in-
dicated, however, “[h]ad the parties worked with their e-discov-
ery consultants and agreed at the onset of this case to a predic-
tive coding-based ESI protocol, the court would not hesitate to
approve a transparent, mutually agreed upon ESI protocol.”244
   Similarly, in In re Allergan Biocell, the court considered the
parties’ ESI protocols in denying the defendant’s request to ap-
ply TAR after the application of search terms. 245 The court noted
that the ESI protocols addressed the use of search filtering tech-
nology and required the parties to confer and agree upon the
application of any such technology, including TAR.




242. Id. at *4–5.
243. See id.
244. Id. at *9.
245. In re Allergan Biocell Textured Breast Implant Prods. Liab. Litig., No.
2:19-md-2921 (BRM)(ESK), 2022 WL 16630821, at *1 (D.N.J. Oct. 25, 2022).
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    In Bridgestone, 246 in contrast, the court permitted the plaintiff
to change its search-and-review methodology to TAR mid-
stream, based on the plaintiff’s determination that it would be a
much more efficient process, despite the defendant’s objections
that the request was an “unwarranted change in the original
case management order,” and that it would be unfair to allow
the use of TAR “after an initial screening has been done with
search terms.”247 In permitting the plaintiff “to switch horses in
midstream,” the court observed “the use[] of predictive coding
is a judgment call, hopefully keeping in mind the exhortation of
Rule 26 that discovery be tailored by the court to be as efficient
and cost-effective as possible.” The court noted that the case in-
volved “millions of documents to be reviewed with costs like-
wise in the millions.”248




246. Bridgestone Ams., Inc. v. Int’l Bus. Machs. Corp., No. 3:13-1196, 2014
WL 4923014 (M.D. Tenn. July 22, 2014).
247. See id. at *1.
248. Id.
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VII.    PROPORTIONALITY

    Courts may weigh proportionality factors in assessing
whether a responding party employing TAR has discharged its
discovery obligations. For example, in Davine v. The Golub Corp.,
the court permitted defendants to use TAR to review documents
and “cease their review [once] . . . they made a good faith deter-
mination that the burden of continuing the review outweighs
the benefit in terms of identifying relevant documents.” 249
    In City of Rockford v. Mallinckrodt, the court rejected the re-
sponding party’s argument that reviewing a random sample
from the null set to validate the results of the keyword search
process would be disproportionate. 250 The court noted that in its
experience and understanding, reviewing a random sample of
a null set would not be unreasonably expensive or burden-
some. 251 The court stated, “[v]alidation and quality assurance
are fundamental principles to ESI production. The process pro-
vides the reasonable inquiry supporting the certification under
Rule 26(g).” 252 The court also stated, “critically, Defendants have
failed to provide any evidence to support their contention” that
it would be expensive and burdensome. 253
    Although the producing party’s argument focused on ex-
pense and burden, the court went on to analyze the proportion-
ality factors under Federal Rule of Civil Procedure 26(b)(1).
First, the court stated that the issues at stake—having to do with
pharmaceuticals pricing—were substantial, having garnered


249. Davine v. Golub Corp., No. 3:14-cv-30136-MGM, 2017 WL 549151, at
*1 (D. Mass. Feb. 8, 2017).
250. City of Rockford v. Mallinckrodt ARD Inc., 326 F.R.D. 489 (N.D. Ill.
2018).
251. See id. at 495.
252. Id. at 494.
253. Id. at 495.
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national media attention. 254 Second, the court found that the po-
tential amount in controversy was “extraordinary,” and “in to-
day’s legal vernacular, these are ‘bet the company’ cases.”
Third, the defendants had access to the majority of the relevant
information in the case. Fourth, “as to resources, the main de-
fendant is a large international pharmaceutical company with
substantial resources.” Fifth, the court found that the ESI would
“play a key role in resolving the issues in these cases.” Finally,
the court found that “the burden and expense of a random sam-
pling of the null set does not outweigh its likely benefit of en-
suring proper and reasonable—not perfect—document disclo-
sure.” 255 Accordingly, the court ordered defendants to review a
random sample of the null set based on a 95 percent confidence
level with a margin of error of plus-or-minus 2 percent. 256
    ESI production can still be burdensome even when the pro-
ducing party uses TAR, so proportionality may be an issue even
when TAR is used. In County of Cook v. Bank of America Corp., the
district court rejected the plaintiff’s argument that the defend-
ants’ use of TAR affected the magistrate judge’s assessment of
the “burdens and [] volume of data” that would result from the
searches the plaintiff proposed. 257 The court pointed out that the
defendants to date had reviewed 400,000 documents for the 38
court-ordered custodians and had 36 attorneys working full
time for three months reviewing documents. Additionally, the



254. Id.
255. Id. at 495.
256. See id. at 496. Cf. Jim Hawk Truck-Trailers of Sioux Falls, Inc. v. Cross-
road Trailer Sales & Serv. Inc., No. 4:20-CV-04058-KES, 2022 WL 3010143, at
*7 (D.S.D. July 29, 2022) (considering only relevancy rate of last 2,000 docu-
ments reviewed in TAR 2.0 workflow, among other factors, to determine fur-
ther review would not be proportional).
257. County of Cook v. Bank of Am. Corp., No. 14 C 2280, 2019 WL 5393997,
at *3 (N.D. Ill. Oct. 22, 2019).
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defendants’ ESI vendor costs were projected to exceed $1.3 mil-
lion. The court held that “[t]hese numbers undermine any sug-
gestion that Defendants’ use of TAR to aid in their ESI produc-
tion affects [the magistrate judge’s] proportionality basis for
denying the County’s request for ESI from the [additional] cus-
todians at issue here.”258
    In In re Diisocyanates, the special master analyzed whether
proportionality considerations justified defendants stopping
their TAR 2.0 review, with one defendant’s last two batches be-
ing 15 percent responsive, and the other’s was 19 percent. Given
that this antitrust matter involved evidence that would be a
“mosaic” of circumstantial evidence, the additional relevant
documents that TAR continued to find were of sufficient value
for the reviews to continue, even if “not entirely novel.” 259




258. Id.
259. In re Diisocyanates Antitrust Litig., No. 18-1001, 2022 WL 17668470, *12
(W.D. Pa. Oct. 19, 2022), modified by In re Diisocyanates, ECF No. 800 (W.D. Pa.
Oct. 21, 2022).
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VIII. FEE SHIFTING

    The committee notes to the 2015 amendments to Rule 26 in-
clude a reminder that “a responding party ordinarily bears the
costs of responding.” 260 However, in some cases involving TAR,
courts have ordered cost shifting, and in so doing, paid particu-
lar attention to the efficiencies gained from using TAR or the
inefficiencies resulting from a party’s refusal to adopt or timely
propose it.

        A.       Costs Split Between Parties
    In some cases, courts have departed from the general rule
and have instead allocated costs of responding among the par-
ties. In Lawson v. Spirit AeroSystems, the court granted the de-
fendant’s motion to shift the TAR-related costs and allocated the
costs 80 percent to the plaintiff and 20 percent to the defendant
because the plaintiff had “wanted to proceed with the TAR pro-
cess at a point in time when it was disproportional to the needs
of the case.”261 The parties had engaged in protracted negotia-
tions and motion practice related to discovery, initially involv-
ing disputes relating to search terms and the proposed custodi-
ans. The plaintiff then insisted that the defendant switch to a
TAR methodology and the defendant agreed, subject to filing a
motion to shift costs if the effort was considered disproportion-
ate. Throughout the TAR process, the defendant acceded to the
plaintiff’s continued demands until it took the position, and the
court agreed that it was finished. As discussed above, the court


260. FED. R. CIV. P. 26 advisory committee’s note to 2015 amendment. See
also, OSI Rest. Partners, LLC v. United Ohana, LLC, No. 12353-CB, 2017 WL
396357, at *2 (Del. Ch. Jan. 27, 2017) (discussed Section III.C), adhering to this
principle.
261. Lawson v. Spirit AeroSystems, Inc., No. 18-1100-EFM-ADM, 2020 WL
3288058, at *22 (D. Kan. Jun. 18, 2020), aff’d, 2020 WL 6939752 (D. Kan. Nov.
24, 2020). See also Sections III.C and V.C for further discussion of this case.
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declined to force the defendant to continue its review when its
estimated recall met or exceeded even that initially demanded
by the plaintiff. 262
    The court found it was appropriate to shift costs of the TAR
review to the plaintiff because “Lawson’s continued pursuit of
the ESI dataset via TAR was not proportional to the needs of the
case,” and he had pursued “needlessly overbroad discovery.”263
Because Lawson had “wanted to proceed with the TAR process
at a point in time when it was disproportional to the needs of
the case,” the court held that he should bear much of the cost, to
protect the defendant. 264
    In Youngevity International v. Smith, the parties had agreed to
disclose keyword search hit reports. 265 However, the plaintiffs
later refused to do so and produced 4.2 million pages of its key-
word hits without having reviewed them (and admitted that it
further erroneously failed to produce another 700,000 docu-
ments). The plaintiffs argued that it had produced the docu-
ments exactly as the defendants requested, that every document
produced had hit on at least one of the agreed-upon search
terms, and that the volume of the production resulted from the
defendants’ failure to narrow the search terms. 266 The court dis-
agreed, finding that the productions “improperly exceeded” the
defendants’ requests and did not comply with the parties’
agreed-upon protocol. 267 The court gave the plaintiffs two


262. See Lawson, 2020 WL 1813395 (D. Kan. Apr. 9, 2020); In re Domestic
Airline Travel Antitrust Litig., No. 15-1404 (CKK), 2018 WL 4441507, at *3
(D.D.C. Sept. 13, 2018).
263. Lawson, 2020 WL 3288058, at *21.
264. Id. at *22.
265. Youngevity Int’l Corp. v. Smith, No. 16-cv-00704-BTM (JLB), 2017 WL
6541106, at *1, *12 (S.D. Cal. Dec. 21, 2017).
266. Id. at *8.
267. Id. at *8.
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options: (1) reproduce the documents after reviewing for re-
sponsiveness and privilege or (2) produce the 700,000 respon-
sive documents omitted from prior productions without further
review and pay the defendants’ costs for applying TAR to those
documents and documents from prior productions. 268 The court
also ordered the plaintiffs to reimburse the defendants for fees
and expenses incurred in its motion. 269
    Finally, in Independent Living Center v. City of Los Angeles, cer-
tain TAR fees were ordered split between the parties. 270 In that
case, the court ordered the responding party to use TAR to iden-
tify the 10,000 most relevant documents without using previ-
ously identified documents as seeds, despite the increased cost
to it. 271 However, the court ruled that if the plaintiff wanted any
documents beyond the 10,000, it would have to pay 100 percent
of the producing party’s costs in producing them, including the
attorney’s fees incurred to review the additional documents. 272

        B.        Other Awards of TAR Fees and Expenses
   In some matters, courts must determine issues related to
TAR fees and expenses, such as payments from funds to counsel
in a class action. In other matters, courts must determine
whether a particular statute requires the other party to pay for
TAR.
    One California state court decision shifted TAR-related costs
to a requesting party, based on a state procedural rule permit-
ting such allocation. In Dremak v. Urban Outfitters, Inc., the



268. Id. at *8.
269. See id. at *11–12.
270. Indep. Living Ctr. v. City of Los Angeles, No. 2:12-cv-00551, Minute
Order at 1, ECF 371 (C.D. Cal. June 13, 2014).
271. Id.
272. Id.
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California Court of Appeal affirmed a trial court’s post-judg-
ment award to defendants, who prevailed in the case, of
$57,912.84 of costs associated with their production of docu-
ments in response to the plaintiffs’ discovery requests, which
included the use of TAR. 273 Under California law, the trial court
had discretion to grant the defendants’ request for post-judg-
ment taxation of these costs provided they were “reasonable
and necessary.”274
    The defendants presented evidence that the search terms
and custodians that the plaintiffs asked the defendants to use
resulted in a population of more than 400,000 documents. 275 The
defendants then employed TAR to narrow the population to a
production set of 1,658. 276 The costs defendants sought consisted
of payments “to vendors to process documents, conduct coding
analytics to identify relevant documents, and to create and
maintain a database to store thousands of documents.” 277 The
court concluded that the defendants’ evidence supported the
trial court’s finding that these costs were reasonable and neces-
sary to the litigation and that the plaintiffs had not shown that
finding constituted an abuse of discretion. 278
    In In re Actos (Pioglitazone) Products Liability Litigation, in de-
termining common-benefit fees for plaintiffs’ counsel in a large
MDL, the court awarded attorneys’ fees and expenses associ-
ated with TAR. It recognized that “[t]his MDL was one of the
first to allow the use of a ‘predictive coding’ system to aid the



273. Dremak v. Urban Outfitters, Inc., No. D071308, 2018 WL 1441834, at
*7–8 (Cal. Ct. App. Mar. 23, 2018).
274. See id. at *8.
275. Id.
276. Id.
277. Id.
278. Id.
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discovery process and the production of relevant docu-
ments.” 279 The court further stated that “the predictive coding
system provided a unique way to, in part, realistically manage
the immense amount of information needed to be produced and
reviewed in this MDL.”280 The court observed that “[t]he predic-
tive coding system, although not perfect or fully realized, none-
theless, provided an innovative efficiency to the discovery pro-
cess when compared to the existing, prevailing methods of
review.”281 The court concluded that the plaintiffs’ steering com-
mittee and defense counsel “expended tremendous time, and
computer and legal expertise, to harness this technological pos-
sibility with a quite positive, if not complete, result. As this area
involved cutting edge technology, those counsel who could
bring their unique expertise and skill to the task were exception-
ally valuable to the [plaintiffs’ steering committee].” 282
    In Gabriel Technologies Corp. v. Qualcomm Inc., the court
awarded more than $2.8 million in fees incurred for the use of
“computer assisted, algorithm-driven document review” for al-
most 12 million documents. 283 The court awarded defendant at-
torney’s fees and TAR-related costs under federal patent law
and for misappropriation claims under California’s Uniform
Trade Secrets Act based on its finding that the plaintiff acted in
bad faith by bringing “objectively baseless claims.” The court
further found that the defendant’s use of TAR was “reasonable
under the circumstances” of the case. 284


279. In re Actos (Pioglitazone) Prods. Liab. Litig., 274 F. Supp. 3d 485, 499
(W.D. La. 2017) (internal citations omitted).
280. Id.
281. Id.
282. Id. at 499–500.
283. Gabriel Techs. Corp. v. Qualcomm Inc., No. 08cv1992 AJB (MDD),
2013 WL 410103, at *10 (S.D. Cal. Feb. 1, 2013).
284. Id.
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IX.        INTERNATIONAL ADOPTION OF TAR

   TAR continues to be accepted and discussed in foreign juris-
dictions.
    The European Court of Human Rights recognized that
“courts in at least two jurisdictions (the United Kingdom and
Ireland) have approved in recent years the use of technology-
assisted review . . . for the purposes of electronic disclosure in
high-stakes civil litigation,” and reasoned that “[t]he rationale
would apply with equal force in criminal cases of comparable
complexity.”285 The court further noted that TAR “allows parties
to save a significant amount of time and resources in analyzing
large data sets.”286
    In Ireland, the Irish High Court in Irish Bank Resolution Corp.
v. Quinn granted a responding party’s motion to use TAR over
the objection of the party requesting the production of docu-
ments, a ruling upheld by the Irish Court of Appeal. 287
    In England, the English High Court in David Brown v. BCA
Trading approved the use of TAR over the objection of the re-
questing party.288 And in Pyrrho Investments Ltd. v. MWB Prop-
erty Ltd. the parties jointly sought and obtained the approval of
the English High Court to use TAR. 289 The same court, in Astra
Asset Management UK Ltd . v. MUSST Investments LLB, noted




285. Sigurđur Einarsson v. Iceland, App. No. 39757/15, Partly Dissenting
Opinion of Judge Pavli, (B)(15), Eur. Ct. H.R. Apr. 9, 2019, https://hu-
doc.echr.coe.int/fre#{%22itemid%22:[%22001-193494%22]}.
286. Id.
287. Irish Bank Resol. Corp. v. Quinn, [2015] IEHC 175 (H. Ct.) (Ir.), upheld
by the Irish Court of Appeal (see Court of Appeal Approves use of TAR for Dis-
covery, MCCANN FITZGERALD (Feb. 25, 2016)).
288. David Brown v. BCA Trading Ltd., [2016] EWHC (Ch) 1464 (Eng.).
289. Pyrrho Inv. Ltd. v. MWB Prop. Ltd., [2016] EWHC (Ch) 256 (Eng.).
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that “where a party is intending to use technology assisted re-
view, the intention should be notified to the other party.”290
    A Hong Kong decision also held that a party did not need
the court to authorize use of TAR, and “the use of analytic tools
of this sort is to be expected” to review large volumes of ESI. 291
    In Canada, in Perlmutter v. Smith, the Ontario Superior Court
of Justice held that the respondent’s counsel could review doc-
uments for relevance, not just privilege, where the parties were
court-ordered to agree on search terms for the respondent’s de-
vices and had also agreed to use TAR. 292 The applicants had un-
successfully objected to the respondent’s counsel “reviewing
the documents to narrow the production set generated by TAR
other than for privilege.”293 In PM&C Specialist Contractors Inc.
v. Horton CBI Ltd., the Alberta Court of Queen’s Bench declined
to opine on what percentage of document review costs, includ-
ing TAR, was a recoverable disbursement on a bill of costs. 294
    In McConnell Dowell v. Santam Ltd, the Supreme Court of Vic-
toria recognized party agreement on use of TAR and reviewed
a TAR report from a Special Referee used to oversee the TAR
process. 295 This case is cited in Australia as precedent for use of
TAR as an appropriate tool to gain efficiency during the



290. Astra Asset Mgmt. UK Ltd. v. Musst Investments; Musst Holdings Ltd
v Astra Asset Mgmt. UK Ltd., [2020] EWHC (Ch) 1871 (Eng.).
291. China Metal Recycling (Holdings) Ltd. (In Liquidation) v. Deloitte
Touche Tohmatsu, [2022] H.K.C. 2344 (C.F.I.) (citing, inter alia, Da Silva
Moore v. Publicis Groupe, 287 F.R.D. 182, 183 (S.D.N.Y. 2012) and Rio Tinto
PLC v. Vale S.A., 306 F.R.D. 125 (S.D.N.Y. 2015)).
292. Perlmutter v. Smith, 2021 ONSC 1372, 2021 CarswellOnt 2055 (2021).
293. Id.
294. PM&C Specialist Contractors Inc. v. Horton CBI Ltd., 2017 ABQB 400.
295. McConnell Dowell Constructors (Aust) Pty Ltd. v. Santam Ltd. (No 1)
[2016] VSC 734 (Austl.).
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eDiscovery process. 296 Furthermore, additional cases have refer-
enced the use of TAR without question to its acceptance. 297 From
the decisions, it appears that acceptance of TAR is no longer a
threshold issue in Australia, and that when TAR is discussed, it
is in general reference to its use or discussion of further details
surrounding the process. 298




296. Mosslmani v. Nationwide News Pty Ltd (No 2), [2018] NSWDC 113
(Austl.).
297. Santos Limited v. Fluor Australia Pty Ltd (No 4), [2021] QSC 296
(Austl.); Viiv Healthcare Co V Gilead Sciences Pty Ltd (No 2), BC202009855;
Parbery v QNI Metals Pty Ltd (No. 12), [2018] QSC 276 (Austl.).
298. See, e.g., Viiv Healthcare Co v Gilead Sciences Pty Ltd (No 2),
BC202009855 (discussion of TAR interplay with search terms).
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X.      USE OF TAR IN FEDERAL GOVERNMENT INVESTIGATIONS

    Some United States government agencies have accepted the
use of TAR for search and review in connection with document
productions in regulatory investigations, particularly merger
reviews. Implementing TAR in the context of government in-
vestigations raises some unsettled questions, and thus the re-
sponding party should consider proactively engaging with the
government lawyers at the start of the eDiscovery process to
discuss what specifications may be acceptable under a TAR pro-
tocol (including whether such a protocol is appropriate). Gener-
ally, these issues and the specifications for a TAR protocol will
be worked out with agency staff on a case-by-case basis at the
outset of the production process.
    In October 2021, the Federal Trade Commission (FTC) issued
an update to its Model Second Request for merger antitrust in-
vestigations, which includes specifications related to the use of
TAR in response to Second Requests. 299 The Model Second Re-
quest expressly contemplates the use of TAR, among other dis-
covery tools, subject to certain requirements. Significantly, the
2021 update requires the responding party to address its intent
to use TAR through a written submission to the FTC prior to ap-
plying TAR to identify responsive documents. 300 This change is
meant to more closely align the FTC Second Request process
with that of the Department of Justice (DOJ) Antitrust Division.


299. Fed. Trade Comm’n, Request for Additional Information and Docu-
mentary Material Issued to [Company] (FTC Model Second Request) (re-
vised Oct. 2021), https://www.ftc.gov/system/files/attachments/hsr-re-
sources/model_second_request_-_final_-_october_2021.pdf.
300. Id. at 12 (Specification 30), 22 (Instruction I5). See also Holly Vedova,
Making the Second Request Process Both More Streamlined and More Rigorous
During this Unprecedented Merger Wave, FED. TRADE COMM’N (Sept. 28, 2021),
https://www.ftc.gov/news-events/blogs/competition-matters/2021/09/mak-
ing-second-request-process-both-more-streamlined.
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The responding party also must disclose specified information
to the FTC at the end of the document review process. 301 In par-
ticular, the responding party must:
        [b](i) describe the collection methodology, includ-
        ing: (a) how the software was utilized to identify
        responsive documents; (b) the process the Com-
        pany utilized to identify and validate the seed set
        documents subject to manual review; (c) the total
        number of documents reviewed manually; (d) the
        total number of documents determined non-re-
        sponsive without manual review; (e) the process
        the Company used to determine and validate the
        accuracy of the automatic determinations of re-
        sponsiveness and non-responsiveness; (f) how the
        Company handled exceptions (‘uncategorized
        documents’); and (g) if the Company’s documents
        include foreign language documents, whether re-
        viewed manually or by some technology-assisted
        method; and [b](ii) provide all statistical analyses
        utilized or generated by the Company or its
        agents related to the precision, recall, accuracy,
        validation, or quality of its document production
        in response to this Request; and [c] identify the
        Person(s) able to testify on behalf of the Company
        about information known or reasonably available
        to the organization, relating to its response to this
        Specification.302




301.   FTC Model Second Request, at 12 (Specification 30), 22 (Instruction
I5).
302. Id. at 12 (Specification 30).
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    The Instructions to the Model Second Request further spec-
ify that the responding party must provide to the FTC: 303 “(a)
confirmation that subject-matter experts will be reviewing the
seed set and training rounds; (b) recall, precision, and confi-
dence-level statistics (or an equivalent); and (c) a validation pro-
cess that allows Commission representatives to review statisti-
cally-significant samples of documents categorized as non-
responsive documents by the algorithm.”304
    Similarly, counsel for the Antitrust Division of the Depart-
ment of Justice has provided guidance regarding TAR protocols
in response to Division investigations, updated in March 2021,
which also states that the use of TAR should be addressed with
the DOJ before embarking on a TAR-based review. 305 Notably,
the Instructions section related to Production Format of the
DOJ’s Model Second Request states the following: “Before using
software or technology (including search terms, predictive cod-
ing, de-duplication, or similar technologies) to identify or elim-
inate documents, data, or information potentially responsive to
this Request, the Company must submit a written description of
the method(s) used to conduct any part of its search.” 306 The DOJ
Model Second Request also contains the same requirements as
the FTC Model Second Request related to confirmation that sub-
ject-matter experts will review the seed set and training rounds,
disclosure of recall, precision, and confidence-level statistics,




303. Second Request productions tend to use TAR 1.0 procedures, though
TAR 2.0 is also in use.
304. FTC Model Second Request, at 22 (Instruction I5).
305. U.S. Dep’t of Justice, Request for Additional Information and Docu-
mentary Material Issued to [ ] Corporation (DOJ Model Second Request) (re-
vised Mar. 2021), Instructions 3 and 4, https://www.justice.gov/atr/file/
706636/download.
306. Id.
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and a validation process that includes review of statistically sig-
nificant samples of documents categorized as nonresponsive. 307
    It is important to note that actual practice may deviate from
public guidance and policy statements. For example, in 2017, a
senior attorney with the Department of Justice, Antitrust Divi-
sion issued a public statement that the Division would not allow
a party to conduct a manual review for responsiveness after the
TAR process has been completed. 308 However, the experience of
eDiscovery practitioners who regularly engaged with the Divi-
sion in following years was that the Division did, under certain
circumstances, allow some second-level, manual responsive-
ness review after TAR. Moreover, other Divisions of the Depart-
ment of Justice routinely allow manual review after the applica-
tion of TAR. In addition, the DOJ has reserved the right to
conduct manual review after TAR in cases where it has repre-
sented client agencies as defendants in litigation.
    Thus, responding parties should continue to advocate for
the most effective use of TAR and negotiate with agency staff to
secure a favorable TAR protocol for their clients.




307. Id.
308. Tracy Greer, Avoiding E-Discovery Accidents & Responding to Inevitable
Emergencies: A Perspective from the Antitrust Division, U.S. DEP’T OF JUSTICE (re-
vised Mar. 2017), https://www.justice.gov/atr/page/file/953381/download.
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XI.      CONCLUSION

    Since 2012, case law’s broad consensus on TAR has evolved
from an acceptable methodology to black letter law that where
the responding party reasonably decides to use TAR, courts will
permit it. With that acceptance, courts are now grappling with
TAR issues involving technical issues, such as search-term cull-
ing, recall thresholds, and validation. Courts have been gener-
ally consistent in favoring cooperation and transparency among
parties on discovery issues, and TAR is no different. While TAR
may be an efficient approach for finding relevant documents,
courts are not likely to force a TAR process on a reluctant re-
sponding party.
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